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      2                        UNITED STATES DISTRICT COU T                                         t

      3                        CENTRAL DISTRICT OF CALIFO                 7F~`' = '
                                                                                                      __.....
      4                               SOUTHERN DIVISION

      5                                      - - -

      6            THE HONORABLE DAVID O. CARTER, JUDGE PRESIDING

      7              UNITED STATES OF AMERICA,

      8                           Plaintiff,
                         vs.
      9                                                       CR-02-938(C)
                     BARRY BYRON MILLS;                       Vol. 1
     10              TYLER DAVIS BINGHAM;
                     CHRISTOPHER OVERTON
     11              GIBBON; EDGAR WESLEY
                     HEVLE,
     12                         Defendants.

     13              ---------------------------

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     16                         REPORTER'S TRAI~TSCRIPT OF PROCEEDINGS

     17                              Santa Ana, California

     18                                 February 8, 2006

     19

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     21                                SHARON A. SEFFENS, RPR
                                       United States Courthouse
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                                       Santa Ana, CA 92701
     23                                (714) 543-0870
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         1    SANTA ANA, CALIFORNIA; WEDNESDAY, FEBRUARY 8, 2006; 8:00

         2    A.M.

       3                  THE COURT:    We are on the record.    Mr. Bingham is

      4      present.     Mr. Harris is present.      Mr. White is present.       Mr.

      5      Steward is present.       Mr. Fleming is present.    Mr. Emmick and

      6      Ms. Flynn     are present.

      7                   Lisa told me Juror No. 47 appeared this morning,

      8      and so did 32 and 33.      They are scheduled for this

      9      afternoon, so we are going to take them this morning also,

     10      and we are missing No. 24, but we are working on that.

     11                   THE CLERK:   22 is here.

     12                   THE COURT:   Let's take a look at 22 again.     Let's

     13      go over that questionnaire before we bring in No. 22.         The

     14      persons works in security in aerospace.        I have a question

     15      on No. 77.

     16                  "77. Is there anything about the charges against

     17      the defendants that might bias you against or toward them?"

     18                  "I'm of Jewish background.      When Aryan is brought

    19       up, I think of Hitler."

    20                   Also, 73 and 65.

    21                   Any other particular areas?

    22                   MR. WHITE:    75, Your Honor.

    23                   THE COURT:    You remind me if I forget that.

    24                   MR. EMMICK:    I might suggest -- and these are all

    25       related in a manner of speaking -- 68 and also 76.        76 is


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         1    the one we talked about being judge, jury, and executioner.

         2    I'm not sure exactly how to take that.

         3              THE COURT:      Hopefully, he is being facetious.

      4                 Would you ask No. 22 to join us, please.

      5                (Prospective Juror No. 22 enters courtroom.)

      6                THE COURT:       Hello.    How are you today?       Come over

      7      and join us.     Would you please be seated here in this chair

      8      right across the table from me.            Good morning.

      9                PROSPECTIVE JUROR NO. 22:           Good morning.

     10                THE COURT:      Let me start you by thanking you for

     11      not only filling out the questionnaire but for responding.

     12      When we sent out the jury summons to you, we estimated nine

     13      months, but that's not true.         We wanted to overestimate so

     14      that no one was angry at me.         You are not going to be in

     15      session nine months, but the case could take place over a

     16      period of nine months.      We could have a short or lengthy

    17       continuance as early as after the jury is selected.

    18                 I plan to take some odd times during the trial as

    19       breaks with no other particular reason than I want counsel

    20       for both sides just to catch up, just to keep marshaling

    21       their resources.    I'm not sure when those will be yet, but I

    22       am planning on eight or nine-day breaks at different times.

    23                 We gave you your questionnaire to read back, and I

    24       asked if there was anything that you wanted to change or

    25       modify, and if they was, if you would tell me what questions


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         1    they were.

         2              PROSPECTIVE JUROR NO. 22:         Just No. 69.

         3              THE COURT:      Let me turn to that for just a moment.

         4              "69.     Will you have any difficulty in not

      5       discussing the case with anyone until it is submitted to

      6       you," et cetera.      You have answered "Yes."

      7                Are you now answering "No"?

      8                PROSPECTIVE JUROR NO. 22:          Yes.    I misread that.

      9                THE COURT:      In cases where the government is

     10      seeking the death penalty against the defendant, the law

     11      provides for a two-stage trial in front of the same jury.

     12      In asking these questions, I don't want you or any of the

     13      other jurors to assume that we are going to get to the

     14      second stage of these proceedings.         We sometimes may call

     15      that a penalty phase trial.       If we got to that stage, that's

     16      why it's necessary that I talk to each of you.

    17                 In the first trial, the jury's job is the same as

    18       it would be in any other criminal case.           You decide if the

    19       accused is either guilty or not guilty.           If, and only if,

    20       the jury returns a verdict of guilty against either

    21       defendant Mr. Mills, who is the gentleman here, or

    22       Mr. Bingham, the gentleman there, as to the counts alleged

    23       against them which potentially carry a sentence of death,

    24       then the same jury will have the task of considering the

    25       penalty in the second trial or penalty phase trial.           In that


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         1    case, the jury may hear additional evidence and arguments

         2    and will be asked to weigh various aggravating and

         3    mitigating factors.   I will explain those factors to you if

         4    we get to the second penalty phase.

         5              Based upon these considerations, the jury by

         6    unanimous vote shall recommend whether the defendant should

         7   be sentenced to death, life imprisonment without possibility

      8      of release, or some other lesser sentence.

      9                Now, in any case in which the charge carries a

     10      possible penalty of death, the law requires that jurors

     11      answer questions regarding their thoughts, feelings, and

     12      opinions about the possible penalties.         That's why we have
     13      intruded into a very personal area, quite frankly.

     14                I have just four initial basic questions with you,

     15      and then I want to talk to you a little bit about your form.

     16                Would you automatically find for death without

     17      fairly weighing the aggravating and mitigating factors if we

    18       got to the second or penalty phase?

    19                 PROSPECTIVE JUROR NO. 22:       No, I wouldn't.

    20                 THE COURT:   Is there a substantial likelihood that

    21       you would find for death without fairly weighing the

    22       aggravating and mitigating factors if we got to the penalty

    23       phase?

    24                PROSPECTIVE JUROR NO. 22:        I don't believe so.

    25                THE COURT:    Now, the opposite side of the coin,


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         1    would you automatically never find for death without fairly

         2    weighing the aggravating and mitigating factors if we get to

         3    the penalty phase?

         4              PROSPECTIVE JUROR NO. 22:          No.

         5              THE COURT:      Is there a substantial likelihood that

         6    you would never find for death without fairly weighing the

      7       aggravating and mitigating factors if we get to the second

      8      stage?

      9                PROSPECTIVE JUROR NO. 22:           No.

     10                THE COURT:      Now, let me talk to you about your

     11      questionnaire.

     12                Could you turn back to the portion that we are

     13      most interested in with all of you as jurors -- on Question

     14      65, it says:

     15                "65.    Are your views concerning the death penalty

     16      such that, if you were to reach a penalty phase in this

     17      case, you would have substantial difficulty in voting for

    18       life imprisonment as the appropriate penalty?"

    19                 You marked "Yes."

    20                 Would you talk to me a little bit about that?

    21                 PROSPECTIVE JUROR NO. 22:          I guess it goes along

    22       the lines you were just asking me.          An automatic death

    23       penalty, no.

    24                 THE COURT:      Here we just changed the word.     We

    25       used "substantial difficulty" or substantial likelihood.


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         1              PROSPECTIVE JUROR NO. 22:        I don't believe that I

         2    would have a problem stopping at that point and deciding

         3    which way to go, not having an automatic -- going in with

         4    the first thought of it being the death penalty and only

         5    that.

      6                 THE COURT:    It's a tough question, by the way.

      7                 PROSPECTIVE JUROR NO. 22:        It is.    I thought about
      8      it only because of cases that have come up in the news and

      9      things like that.     Yes, sometimes it is hard to stop and not

     10      jump to conclusions or think there is one and only one way

     11      to go.   I'm pro death penalty, but --

     12                THE COURT:    I saw that in Question 61.

     13                PROSPECTIVE JUROR NO. 22:        But not so much that I

     14      am close-minded.    I have an open mind to it.        It is hard to
     15      put in words.   You are right.

     16                THE COURT:    It is, but eventually you understand

     17      if we get to that second phase?

    18                 PROSPECTIVE JUROR NO. 22:        Yes.    Everything is

    19       there, and we have to weigh it.

    20                 THE COURT:    Exactly.    I expect many jurors to

    21       start into the case pro death penalty, others being opposed

    22       to the death penalty, but when we get to that second phase,

    23       we have got to get that jury pool -- we have got a lot of

    24       cases that jurors can sit in, but we have to get to that

    25       second phase with an open-minded jury regardless of whether


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          1    they are pro or against or whatever their initial readings

          2    are.     They literally become a judge at that point.         You are
          3    in a sense handing down the sentence.

          4                 On Question No. 77, I thought it was very helpful

          5    to me personally, and I appreciate your telling me that you

         6     are of Jewish background, and when the word "Aryan" is

       7      brought up, you think of Hitler.

       8                   PROSPECTIVE JUROR NO. 22:        Yes.    Basically, that's

       9      the first thought.

     10                    THE COURT:   And you have raised your family?           You
     11       have been judge, jury, and executioner?

     12                    PROSPECTIVE JUROR NO. 22:       After I put that --

     13       with my kids, I am the law.        I have done it alone, so

     14       sometimes I am a mean mother.

     15                    THE COURT:   By that, you mean they appreciate mom

     16       I take it.

     17                    PROSPECTIVE JUROR NO. 22:       Yes.    I am a single

     18       mom.

     19                    THE COURT:   You have a hardship with five children

     20       and no spouse, and you are working graveyard.            Let me just

     21       say wow, w-o-w.     That's pretty hectic.

     22                    How are you going to be able to sit for nine

     23       months?     First of all, you responded, and we thank you for

     24       that, but by the same token, we are not trying to create a

    25        hardship.


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          1              PROSPECTIVE JUROR NO. 22:        I can only cut down on

          2    some of the hours.

          3              You said it would be four days a week?

          4              THE COURT:     Yes, four days a week, but sometimes

          5    we will vary that.    Some days -- we will try for four days

       6      every week mostly because the attorneys need to remain

       7      focused, and it's hard for them to go five.           I used to

       8      preside over five-day trials in the '80's, and they were

       9      just too hard.   No. 2, I want to give them that day to

      10      marshal their resources.     There day will just begin when all

      11      of us recess at night.     I don't think the government or the

     12       defense attorneys will get more than four or five hours of

     13       sleep, so I am watching them carefully also.

     14                 I have got to watch the jurors, and what I can't

     15       have is a surprise part way through where the employer comes

     16       back and says we are going to fire you, or there are such

     17       problems that all of a sudden I have to lose that juror.               We
     18       will have alternates, but we'll only have --

     19                 PROSPECTIVE JUROR NO. 22:        I work graveyard.      I

     20       start at 11:00, 11:00 to 7:00.      I do work weekends.      They

     21       are two of my five-day workdays.

     22                 THE COURT:     You work from 11:00 in the morning --

     23                 PROSPECTIVE JUROR NO. 22:        11:00 at night until

     24       7:00 the next morning.

     25                 THE COURT:    So you would come in here at 8:00?


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          1                 PROSPECTIVE JUROR NO. 22:       Except my weekends, and

          2    my weekends vary.

          3                 THE COURT:    Counsel --

          4                 I thank you for very much for replying to this,

          5    but just a moment.       I wish all the jurors were as civic

          6    minded as you are, but I need to talk to counsel for
                                                                    just a
         7     moment.

         8                  Do I need to go any further?

         9                 MR. STEWARD:    No.

      10                   MR. WHITE:    No.

     11                    MR. EMMICK:    No.

     12                    THE COURT:    The government agrees, and the defense

     13       agrees.

     14                    Could we have you wear a sign out in front of the

     15       parking lot --

     16                    PROSPECTIVE JUROR NO. 22:       Believe it or not,

     17       yesterday this was my surprise.

     18                    THE COURT:    Once we have got you, we have really

     19       got you.     Oh, the Superior Court.       I spent 17 years over

     20       there.     You can just ignore them.

     21                   PROSPECTIVE JUROR NO. 22:        This is my fifth one in

     22       five years.

    23                    THE COURT:     I joke around about it, but I need to

    24        be careful.    That was a joke for the record.

    25                    First of all, you have to respond.


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          1               We are going to thank and excuse you.            We won't
          2    keep you any longer.      They have short cases over there,

          3    usually four or five days, and you do have to obey the

          4    summons, by the way.

          5               PROSPECTIVE JUROR NO. 22:         I often wondered about

         6     that, but I am not going to push my luck.

         7                THE COURT:    Thank you very much.         If you would be
         8     kind enough, would you give your questionnaire back to
                                                                      Lisa.
       9                  Counsel, stipulate for cause?

     10                   MR. EMMICK:    Yes.

     11                  MR. STEWARD:     Yes.

     12                  MR. WHITE:     Yes.

     13                  THE COURT:     Counsel have stipulated for cause.

     14                  You have a good day.

     15                  (Prospective Juror No. 22 excused.)

     16                  THE COURT:     Do we have 23?

     17                  MR. EMMICK:     If I might offer one thought before

     18       we get to No. 23, yesterday we were thinking about how the

     19       process went, and I have a very minor suggested adjustment.

     20                  THE COURT:     Sure.    Let me ask if we can improve

     21       upon yesterday.

    22                   MR. EMMICK:    If we do get to the penalty phase,

    23        there will be two options, the death penalty or life without

    24        release.

    25                   THE COURT:    I have taken the literal code reading,


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          1    and I don't understand what the lesser sente
                                                            nce is that is
          2    referred to.

          3              MR. EMMICK:     I don't believe there is one referred

          4

         5               THE COURT:     There is not.

         6               MR. EMMICK:     In a sense that is the underpinning

         7     for my suggestion.     When you ask the four core questions,

         8     the third and fourth are whether you will
                                                         automatically
         9     never find the death penalty, or there is a subst
                                                                 antial
     10        likelihood that you will never find the death
                                                             penalty.
     11                  THE COURT:    Would you automatically find for death

     12        with fairly weighing --

     13                 MR. EMMICK:     My suggestion or thought for your

     14       consideration is whether or not we can modify it so that
                                                                       it
     15       says never find life without possibility of release or
                                                                     a
     16       substantial likelihood that you will find life without

     17       possibility of release without considering those factors?

     18       You won't have the awkwardness of having automatically
                                                                     never
     19       and substantial likelihood never, which I think cause some

    20        of the jurors to be a little confused.

    21                  So, in a sense, what I am suggesting is that the

    22        first two be directed at this death penalty option and the

    23        second two be directed at the life without possibility of

    24        release option.   I think it's clearer, and in a way, it

    25        better parallels No. 65, which talks about life without the


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          1    possibility of release.

          2                THE COURT:    Are you suggesting that I take them in
         3     categories then --

         4                 MR. EMMICK:    Yes.

         5                 THE COURT:    -- of automatic and substantial

         6     likelihood and just change the order arou
                                                         nd?
         7                 MR. EMMICK:    Well --

         8                 THE COURT:    Let me read it to you for a moment.

         9     Then you can write visually for a moment.

     10                   THE COURT:     "Would you automatically find for

     11        death without fairly weighing the aggravat
                                                          ing and mitigating
     12       factors?"

     13                   "Would you automatically never find for deat
                                                                       h
     14       without fairly weighing the aggravating and
                                                          mitigating
     15       factors?"

    16                     Now, the only reason I have used automati
                                                                     c even
    17        though it's cumbersome is because that's what
                                                            the case law
    18        was originally designed to do.        Then it came out with the
    19        substantial impairment, which with the stipulat
                                                              ion of all
    20        you thus far changed to substantial likelihood,
                                                              but I will
    21        use the actual words.

    22                    MR. EMMICK:    I am okay with automatic and with

    23        substantial likelihood.     My suggestion is rather than saying

    24        death penalty, death penalty, never death penalty,
                                                                 never
    25        death penalty, we say death penalty, death penalty,
                                                                  life


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          1    without possibility of release, life without
                                                            possibility of
          2    release.    Then you don't have the --

          3                THE COURT:     Write it down for me.

          4                While he is writing it down, is there something

          5    yesterday that we can improve on, something that
                                                                you are
          6    uncomfortable with, Mr. White?          If so, let's work together

          7    and make sure we get what you all think would
                                                             be
         8     appropriate.    Remember this, though, the more cumbersome we

         9     make it, the more confusing it becomes.           The essence of this
     10        has to be simplicity.      If we make it cumbersome, you are
     11       going to get into a myriad of problems.

     12                   MR. WHITE:     We are all agreed that it went very

     13       well yesterday, and we're happy with the way it's being

     14       done.

     15                   THE COURT:     Mr. Harris.

     16                   MR. HARRIS:     I just had a syntax suggestion.

     17                   THE COURT:     4~hy don't you work with Mr. White.        He
     18       was happy, and I want to make sure you are happy.           Happy
     19       means consenting, by the way.

     20                   Mr. Steward, are you now driving the ship?

     21                   MR. STEWARD:    No, Your Honor.       Mr. Fleming and I
    22        think with one brain, and between the two of us, I think we

    23        only have one brain.

    24                    THE COURT:    One of you two come over and take a

    25        look at Mr. Emmick's suggestion.


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                                                                           17

          1               Mr. Harris, and, Mr. White.

          2               MR. WHITE:    We're fine.

          3               THE COURT:    Why don't you step over and see what

          4    Mr. Emmick is drafting and have an informal
                                                           discussion.           If
          5    you are all agree, I'm more than amenable
                                                         to taking any
          6    suggestions, but I want it to be stipulated
                                                           .
          7               You have to remember my emphasis is on death

         8     because it's unweighted in a sense.        The reality has to be
         9     that death can occur.     If there is a better way of conveying
      10       that, so be it, but really the essence of the quest
                                                                   ions are
     11       designed to make sure that we don't get these autom
                                                                  atics and
     12       now substantially impaired or likelihood jurors.

     13                  (Counsel conferring.)

     14                  THE COURT:    I haven't looked at the document

     15       Mr. Emmick drafted yet.

     16                  What are your thoughts?

     17                  MR. WHITE:    I think I can speak for all of us.        We
     18       are actually opposed to the change.        We are happy with the
     19       way it went yesterday.

     20                  THE COURT:    Okay.   Let me consider that this

     21       evening.   I want to keep moving today.       It may be a very
    22        well-taken change.     If you don't mind, I will probably take

    23        another look.   You may be absolutely right unless you see

    24        error being created.     If you see error or some issue where

    25        you feel your side is being prejudiced, then I will slow


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          1    down and take a half hour or so today.

          2                MR. EMMICK:     I don't think it's a matter of error.

          3    I think it's a matter of possibly being a
                                                         little more clear
          4    and possibly just separating the two options.

          5                THE COURT:     Is there a bias, though, to your side

         6     in the way it's being conducted at the prese
                                                            nt time?
          7                MS. FLYNN:    The only thing we are concerned about

         8     is a couple of times in your intro speech you
                                                             say three
         9     options:    death penalty, life with possibility of release,

     10        or some other option.      I don't think there is some other
     11        option.

     12                   THE COURT:     There is no other option that I know

     13       of, and I'm just wondering if I can get a situation
                                                                  -- I
     14       have been reading right from the code, and I don't
                                                                 really
     15       understand -- in the second phase, there are only two

     16       options.    There is no lesser sentence.

     17                   MR. FLEMING:     I think we agree with that, and we

     18       would prefer that we limit it to those two options.

     19                   THE COURT:     Okay.

     20                   Now, would you like me to bring each one of the

    21        jurors back from yesterday -- I would be more than happy
                                                                       --
    22        if you think error is created or there is a bias to one side

    23        and reread that portion?

    24                    MR. FLEMING:    I think probably with the Court's

    25        permission we can do that during general voir dire with
                                                                      the


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          1    jurors that you already spoke to.

          2                THE COURT:     Mr. White.

          3                MR. WHITE:     That's fine.

          4                THE COURT:     So if you want to rectify it, you can

          5    do it at that time.       Is that satisfactory?

          6                MR. FLEMING:    Yes.

          7                MR. WHITE:    Yes.

         8                 THE COURT:    Same for the government?

         9                 MR. EMMICK:    Yes.

      10                   THE COURT:    Let's take that portion out.

      11                   Does anybody have any idea what the code means
                                                                          in
     12       that regard?    I don't either.

     13                   No. 23, I didn't see anything on No. 23 that

     14       caused me concern.

     15                   (Prospective Juror No. 23 enters courtroom.)

     16                   THE COURT:     Sir, come forward.       Thank you for your
     17       patience.    If you would have a seat in the chair just acros
                                                                            s
     18       from me.

     19                   First of all, I want to thank you for showing up

     20       today.   Second, when we sent you that jury summons, we

     21       estimated nine months.      You are not going to be in session

     22       nine months, but the case could take place over a prolo
                                                                      nged
    23        period of time, and I was concerned that I didn't misle
                                                                      ad
    24        any of you, and you were angry with me later on.

    25                    Also, I wanted you to take a look at your


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          1    questionnaire, and if you had any chang
                                                       es or modifications,
          2    I want to go over those with you befor
                                                     e I ask any questions
          3    today.

          4                PROSPECTIVE JUROR NO. 23:        I changed No. 37.
          5                THE COURT:   No. 37.    Thank you.
         6                 "37.   Have you, or anyone close to you, ever
                                                                         been
         7     involved in any way in a drug-related crime
                                                           ?"
         8                PROSPECTIVE JUROR NO. 23:        One of my closest
         9     friends used to sell at the same place.           He never got caught
     10        by law enforcement, but it was a crime.

     11                   THE COURT:    A close friend?

     12                   PROSPECTIVE JUROR NO. 23:        He was using and
     13       selling even before.

     14                   THE COURT:    Anything else?

     15                   PROSPECTIVE JUROR NO. 23:        That's it.

     16                   THE COURT:    In cases where the government is

     17       seeking the death penalty against the defendant,
                                                               the law
     18       provides for a two-stage trial.          In asking you some of the

     19       questions I will ask you in a few moments, I
                                                           don't want you
     20       to assume that we will get to the second stage, but we

    21        might.    If we did -- I just don't know yet, and neither do

    22        you because the jury hasn't weighed the evidence yet, but
                                                                        if
    23        we did, I need to be certain I ask you certain questions
                                                                       now
    24        about your thoughts and feelings concerning the death

    25        penalty, and I don't want you to assume that we are getti
                                                                        ng

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          1    there at this stage.      We sometimes call that second stage a
          2    penalty phase.

          3         In the first trial, the jury's job is the same as
                                                                      it
          4    would be in any other criminal matter.             It's to decide if
          5    the accused is guilty or not guilty.             If, and only if, the
          6    jury returns a verdict of guilty against either defend
                                                                      ant
          7    Mr. Mills or defendant Mr. Bingham as to the counts
                                                                   alleged
          8    against them which carry potential carry a senten
                                                                 ce of
         9     death, the same jury will have the task of considering
                                                                      the
      10       penalty.   In that case, the jury may hear additional

      11      evidence and arguments, and you will be asked to weigh

      12      various aggravating and mitigating factors that I will

     13       explain to you if we get to that second stage or penalt
                                                                      y
     14       phase trial.

     15            Based upon these considerations, the jury by unanim
                                                                       ous
     16       vote shall recommend whether the defendant should be

     17       sentenced to death or to life imprisonment without

     18       possibility of release.      In any case in which the charge
     19       carries a possible penalty of death, the law requires that

     20       the jurors answer questions regarding their thoughts,

     21       feelings, and opinions about the possible penalties, and

     22       that's why we have intruded into your personal life.

     23            I just have four questions for you, and, that is, would

    24        you automatically find for death without fairly weighing
                                                                       the
    25        aggravating and mitigating factors if we got to this penalt
                                                                          y

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          1    phase trial?

          2                PROSPECTIVE JUROR NO. 23:        It depends on the
          3    evidence.

          4                THE COURT:    Is there a substantial likelihood that

          5    you would find for death without fairly weighing
                                                                the
         6     aggravating and mitigating factors if we got to
                                                               this penalty
         7     phase trial?

         8                 PROSPECTIVE JUROR NO. 23:        No.

         9                 THE COURT:    Now, on the opposite side, would you

     10        automatically never find for death without fairly weighi
                                                                        ng
     11       the aggravating and mitigating factors if we got to
                                                                  the
     12       penalty phase?

     13                    PROSPECTIVE JUROR NO. 23:        No.

     14                    THE COURT:   Is there a substantial likelihood that

     15       you would never find for death without fairly weighing the

     16       aggravating and mitigating factors if we got to the penalt
                                                                         y
     17       phase?

     18                 PROSPECTIVE JUROR NO. 23:          No.

     19                 THE COURT:      Now, let me turn to each counsel.        I
     20       don't have any further questions.

     21                 Mr. Steward.

    22                  MR. STEWARD:      Only that the explanation sheet

    23        indicates a scheduling conflict.

    24                  THE COURT:      Okay.    Let's see -- what question is

    25        that?


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          1               MR. STEWARD:    At the very end.

          2               THE COURT:    A trip to Taiwan between February 10

          3    and the 27th.     We are reassembling on the 22nd.

          4               THE COURT:    I don't think I can turn the other

          5    jurors around because we have 140 jurors.           If I could, I

          6    would.   He would have to cancel his trip to Taiwan.

         7                You already have got the trip planned?

         8               PROSPECTIVE JUROR NO. 23:         Yes, actually because

         9    my grandfather just had open heart surgery.

      10                 THE COURT:     Counsel, what are your thoughts?

     11                  MR. EMMICK:     We stipulate.

     12                  MR. WHITE:     We stipulate.

     13                  MR. STEWARD:    Yes, Your Honor.

     14                  THE COURT:    All the parties are stipulating.

     15                  Thank you very much.      If you would give your

     16       questionnaire to Lisa, please.

     17                  (Prospective Juror No. 23 excused.)

     18                  THE COURT:    Let me stop a moment.        On paper, he

     19       would have been a very good potential juror for both sides.

     20       It's too bad that he isn't literally by stipulation one of

     21       your alternates.    I think we are going to some very good

     22       jurors who just don't fit in the time frame, but that's just

    23        the best we can do.

    24                  Do we have 24?

    25                  THE CLERK:     We do.


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          1               THE COURT:    Would you ask No. 24 to come in.

          2               MR. EMMICK:    Would you like us to identify some of

          3    the questions?

          4               THE COURT:    I have a couple of them actually.            One
          5    of them I think would be No. 68.        I think I will just start

         6     there.   There are others, too.

         7               MR. EMMICK:     There are.

         8               THE COURT:     Good morning.     How are you today?

         9               PROSPECTIVE JUROR NO. 24:        Good morning.

      10                 THE COURT:     We refer to you as Juror No. 24.

     11                  First of all, I want to thank you for filling out

     12       the questionnaire.     When you received the jury summons, we

     13       estimated nine months.     I can assure you we won't be in

     14       trial every day for nine months, but I wanted to

     15       overestimate the time so that I didn't have any misgivings

     16       on the jury part about how long it could take.             The total
     17       duration may cover nine months, but there are going to be

     18       numerous interruptions, numerous continuations, along the

     19       way.

     20                  When you filled out the questionnaire, I have

     21       given the opportunity for anyone who wanted to modify the

     22       questionnaire or change an answer to do so in red ink.

    23                  Have you made any changes to your questionnaire?

    24                  PROSPECTIVE JUROR NO. 24:        Yes.

    25                  THE COURT:     Would you tell me which questions you


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          1    changed so counsel will know?

          2               PROSPECTIVE JUROR NO. 24:        Question No. 63.    Quite
          3    frankly, a couple of weeks ago when I read
                                                          62 and 63, for
          4    the life of me I couldn't devine what the
                                                         heck was being
          5    asked.   I do suggest that whoever writes these up takes
                                                                        a
         6     course in syntax.

         7               THE COURT:     I certainly will.        I take full

         8     responsibility.

         9               PROSPECTIVE JUROR NO. 24:         Well, consider yourself
     10       flagellated.    I'm sorry.      Today looking at 63 I became even

     11       more confused, so I said -- I answered it simply
                                                               by saying,
     12       "I will not vote for a death penalty."

     13                  THE COURT:     Let's start there.        It may save a lot
     14       of questions.

     15                  Counsel, could I just drive right to the heart of

     16       this rather than go into the process?

     17                  MR. STEWARD:    Yes.

     18                  MR. WHITE:    Yes.

     19                  MR. EMMICK:    Yes.

     20                 THE COURT:     A case like this may have two

     21       different trials.

    22                  PROSPECTIVE JUROR NO. 24:         Yes, I understand that.

    23                  THE COURT:     And the first trial would be like any

    24        other criminal trial.     By asking the questions I have asked

    25        most of the jurors and you, I never want you to assume
                                                                     that


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          1   we would get to the second trial, a penalty phase trial, in

          2   front of the same jury, but if we did, it's necessary to

          3   know the thoughts and feelings about the jury.

          4                In that second trial, there would be only one of

          5   two options.     You would in a sense become a sentencing jury.

          6   You would be making a recommendation to the Court, and the

          7   two options are life without the possibility of release or

       8      death.

       9                   I think you category stated to me not only today

      10      but in the form that you could never vote for death.         Is
      11      that true?

     12                 PROSPECTIVE JUROR NO. 24:         That is absolutely

     13       true.

     14                 THE COURT:     Now, I can spend a lot of time with

     15       this, Counsel.

     16                Mr. Steward, would you like to ask any questions?

     17                MR. STEWARD:      No, Your Honor.

     18                THE COURT:      Mr. White?

     19                MR. WHITE:      No, Your Honor.

     20                THE COURT:      The government?

     21                MR. EMMICK:      We're satisfied.

     22                THE COURT:      Is there a motion by the government?

     23                MR. EMMICK:      There is.

     24                THE COURT:      Is there any objection to that?

     25                MR. STEWARD:      Submitted.


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       1                MR. WHITE:    Submitted.

       2                THE COURT:    I'm going to thank and excuse you.

       3    Thank you very much.

       4                PROSPECTIVE JUROR NO. 24:       You have lifted a great

       5    burden from my soul.

       6                THE COURT:    Well, we have lots of cases.      We'll

       7    get you back next time.

       8                Would you be kind enough to give the form to Lisa.

       9                (Prospective Juror No. 24 excused.)

      10                THE COURT:   Do you know how I actually feel right

      11    now?    I'm just kidding you.

      12               Let's take No. 25 if No. 25 is here.

      13               Question No. 64 was of some concern to me.

      14               (Prospective Juror No. 25 enters courtroom.)

     15                PROSPECTIVE JUROR NO. 25:        Good morning.

     16                PROSPECTIVE JUROR NO. 25:        Good morning.

     17                THE COURT:    Why don't you come on in and join us

     18    today.    Would you be kind enough to have a seat right here

     i9    across the table from me.

     20                First of all, thank you for filling out the jury

     21    questionnaire.

     22                Second, when we sent out the jury summons we

     23    estimated nine months.      I can assure you that we will not be

     24    in trial every day for nine months.          We overestimated the

     25    time so no one had any misgivings because it could take a


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          1    long duration, but there are going to be numerous recesses

          2    and continuances without explanation probably to the jury.

          3                PROSPECTIVE JUROR NO. 25:       Thank you.

       4                   THE COURT:   We wanted to give each of you a chance

       5       to go over the questionnaire and see if there are any

       6      changes that you would like to make.

       7                  Have you modified the questionnaire?

       8                  PROSPECTIVE JUROR NO. 25:       A little bit.   I found

       9      A few things.

      10                  THE COURT:    First of all, let me see for just a

      11      second.

      12                  "5.   What type of a crime is seen most often?"

     13                   You have added "Robbery."

     14                   PROSPECTIVE JUROR NO. 25:       Yes.

     15                   THE COURT:    It's on Question No. 14(a), you put

     16       for length of employment 27 years, and then that was the

     17       last job.

     18                   PROSPECTIVE JUROR NO. 25:       Yes.

     19                   THE COURT:    On Question No. 16 under "Medicine,"

     20       in the blank, you filled in "Nursing."

     21                   PROSPECTIVE JUROR NO. 25:       Yes.

     22                   THE COURT:    On Question 19, you have added,

     23       "Danger to our country from terrorism, war, et cetera, and

     24       the economy."

     25                   PROSPECTIVE JUROR NO. 25:       Yes.


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       1                THE COURT:   "22(c)      Was a verdict reached?"

       2               Initially, you put "Yes."         Now you crossed that

       3    out and put "Not applicable."

       4               PROSPECTIVE JUROR NO. 25:        That's why I changed

       5    it.   A verdict was reached, but I wasn't the foreperson, so

       6    I couldn't answer the question.

       7               THE COURT:    Let's leave that then.         A verdict was

       8    reached.

       9               PROSPECTIVE JUROR NO. 25:        Yes.

      10               THE COURT:    On Question No. 30, you volunteer with

     11    the Red Cross and served in Katrina, and you were down at

     12    Lake Charles, Lousiana.

     13                PROSPECTIVE JUROR NO. 25:        Yes.

     14                THE COURT:    I have heard from some people that the

     15    devastation is even greater than it shows on the news.

     16                PROSPECTIVE JUROR NO. 25:        Oh, it is.      When you

     17    see it in person -- I mean, I saw pictures and all that.

     18    It's so much like what you see, but it's so much wider.             It

     19    kind of makes me sad every time I see more about it.

     20                THE COURT:    ?Have you ever known anyone else who

     21    was involved in drugs??      You changed that from a "No" on

     22    Question 35 to a "Yes."

     23                PROSPECTIVE JUROR NO. 25:        Only the fact that I

     24    work with patients who were on drugs.             It wasn't personal.

     25                THE COURT:    So in your work in nursing?


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          1                PROSPECTIVE JUROR NO. 25:       Yes.
          2                THE COURT:   On Question 41, you said "and at USC

          3    Med Center."     You have added that?

         4                 PROSPECTIVE JUROR NO. 25:       Yes.

         5                 THE COURT:   "44.    Have you ever seen any TV

         6     programs or movies about gangs?"

       7                   You say, "I probably have.          Cannot at this moment

       8      recollect any particular one."

       9                   On 47, you added to your reading "Nursing

     10       journals"?

     11                  PROSPECTIVE JUROR NO. 25:        Yes.

     12                  THE COURT:     On 48, you have just added "et

     13       cetera."

     14                  "49.    How many hours of TV do you watch?"

     15                  You added "TV, two to three hours."

     16                  On 53, your preference is for biographies or some

     17       novels.

     18                  PROSPECTIVE JUROR NO. 25:        Yes.

     19                  THE COURT:     On Question 64 where you previously

     20       answered "Yes," you have changed that answer to "No," and

     21       you have written, "I personally prefer not to see death

    22        penalty imposed but would take all factors presented in

    23        court of law into consideration by the evidence given."

    24                   PROSPECTIVE JUROR NO. 25:        Sometimes it's a little

    25        hard to be specific on some of those questions.


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          1                 THE COURT:    On 66, you previously had checked

          2             You have changed that, and now you have put
                                                                    "No."
          3                PROSPECTIVE JUROR N0. 25:        I don't remember the
          4    question.

          5                THE COURT:    "66.    Are your views expressed above,

          6    as set forth in Questions 62 through 65, based
                                                              on religious
          7    considerations?"

          8                You changed that to "No."

          9                PROSPECTIVE JUROR NO. 25:        Yes, I did.

      10                   THE COURT:    "70.    Do you feel that the death

      11      penalty is used too often?         too seldom?      randomly?"
      12                   You previously put "too often," and you left that,

     13       and then you put "(in some areas of the USA) I unders
                                                                    tand
     14       each state or locol or federal are approaching differently.
                                                                          "
     15                    PROSPECTIVE JUROR NO. 25:       Yes.

     16                    THE COURT:    Thank you very much.       I don't see any
     17       other changes.     Let me give you your questionnaire back.

     18       Thank you for spending the time.

     19                  In cases where the government is seeking the death

     20       penalty against the defendant, the law provides for a

     21       two-stage trial.    However, I am going to ask you questions,

     22       and I don't want you to assume that this trial will

     23       necessarily reach the second stage for a penalty phase

     24       trial.   We call the second stage trial a penalty phase

    25        trial, and the same jury is involved in both trials.


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          1              In the first trial, the jury's job is the same as

          2    it would be in any other criminal case, to decide if the

       3       accused is guilty or not guilty.       If, and only if, the jury

       4      returns a verdict of guilty against either defendant Mr.

       5      Mills or defendant Mr. Bingham as to the counts alleged

       6      against them which potentially carry a sentence of death,

       7      the same jury will have the task of considering the penalty.

       8      In that case, the jury may hear additional evidence and

       9      arguments, and you will be asked to weigh various

     10       aggravating and mitigating factors that I will explain to

     11       you if we get to that second or penalty phase.

     12                 Based upon the jury's considerations, by unanimous

     13       vote, the jury shall recommend whether the defendant shall

     14       be sentenced to death or life imprisonment without the

     15       possibility of release.   In any case where the charge

     16       carries a possible penalty of death, the law requires jurors

     17       to answer questions regarding their thoughts, feelings and

     18       opinions about the possible death penalty, which is why we

     19       have intruded into an area that we normally would never

     20       inquire about.

     21                 My questions are relatively brief.

     22                 Would you automatically find for death without

     23       fairly weighing the aggravating and mitigating factors if we

     24       got to this second or penalty phase trial?

     25                 PROSPECTIVE JUROR NO. 25:       Would I


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          1    automatically --

          2               THE COURT:    Would you automatically find for death

          3    without fairly weighing the aggravating --

       4                 PROSPECTIVE JUROR N0. 25:        No, I wouldn't.

       5                 THE COURT:    I will change the standard a little

       6

       7                 Is there a substantial likelihood that you would

       8      find for death without fairly weighing the aggravating and

       9      mitigating factors if we got to the second trial?

      10                 PROSPECTIVE JUROR NO. 25:       I still think you would

     11       have to weigh the factors on both sides.

     12                  PROSPECTIVE JUROR NO. 25:       Let me change the

     13       scenario just a little bit.

     14                  Would you automatically never find for death

     15       without fairly weighing the aggravating and mitigating

     16       factors?   Let me say it to you again.          Would you

     17       automatically never find for death without fairly weighing

     18       these aggravating and mitigating factors?

     19                  PROSPECTIVE JUROR NO. 25:       I think I should weigh

     20       them.   I still think it should be weighed.

     21                  PROSPECTIVE JUROR NO. 25:       Is there a substantial

     22       likelihood that you would never find for death without

     23       fairly weighing the aggravating and mitigating factor?

     24                  PROSPECTIVE JUROR NO. 25:       No.

     25                  THE COURT:    Now, you stated in the questionnaire


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       1    that you are personally opposed to the death penalty because

       2    there has been occasions where an innocent person has been

       3    executed.     You think a defendant can be punished with life

       4    without possibility of parole, and it may be a greater

       5    punishment.

       6                I expect that I am going to get throughout the

       7    discussion people who are what's been labeled pro death or

       8    against death.    I don't think that that's the relevant

       9    consideration unless it causes them to automatically reach a

      10   conclusion or there is a substantial likelihood that they

      11   would reach a conclusion without fairly weighing these

      12   aggravating and mitigating factors.

     13                 PROSPECTIVE JUROR NO. 25:       I think you should

     14    always weigh the mitigating factors.          At least, that's my

     15    opinion.

     16                 THE COURT:     And would you weigh the aggravating

     17    factors?

     18                 PROSPECTIVE JUROR NO. 25:       And the aggravating,

     19    yes.

     20                 THE COURT:     Okay, just so I'm certain, do you have

     21    any questions, Mr. Steward?

     22                 MR. STEWARD:    No, Your Honor.

     23                 THE COURT:   Mr. White?

     24                 MR. WHITE:   No, Your Honor.

     25                 THE COURT:   The government?


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          1              MR. EMMICK:    Yes, we do have a few more questions

       2       as follow-ups.

       3                 THE COURT:    Okay.

       4                 MR. EMMICK:    My name is Mike Emmick.        I'm a

       5      government attorney.

       6                I wonder if you could tell us a little bit about

       7      why you oppose the death penalty.

       8                THE COURT:     In other words, your religious grounds

       9      or moral grounds?

      10                PROSPECTIVE JUROR NO. 25:        Well, as I said in my

      11      answer before, I feel like many mistakes have been made in

     12       the past, so that weighs on my -- I personally don't

     13       particularly like the death penalty, but I suppose in some

     14       cases, there is no other answer, so generally, I could

     15       accept the death penalty if there was a strong reason for

     16       it.

     17                 MR. EMMICK:     In Question No. 76, you were talking

     18       about your feelings having sat on criminal juries in other

     19       cases.

     20                 THE COURT:     Why don't read that question to her.

     21                 Would you turn to Question 76 more a moment?

     22                 MR. EMMICK:    I will read it outloud.

     23                 "76.    What is it about yourself that makes you

     24       feel you could be a fair and impartial juror?"

     25                 You said, "I have served on many juries and always


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       1    go in with an open mind.         I have had to rule with fellow

       2    jurors against the defendant, although I felt sad to have to

       3    make that particular decision."

       4               The question that I wanted to ask based on that is

       5    that I wonder whether you will feel sadder if the facts and

       6    the evidence indicate to you that death is appropriate and

       7    whether that sadness would influence you in a way that would

       8    have an effect on your decision?

       9               MR. WHITE:     I'm going to object to the question.

      10    I don't think it's relevant.

      11               THE COURT:     I'm going to sustain it.

      12               MR. EMMICK:     Would you be sadder in view of the

      13   fact that it's a death penalty that you are considering?

     14                PROSPECTIVE JUROR NO. 25:         Well, I think I would

     15    have some normal feeling in that direction, yes, but I could

     16    still I think make the decision that needs to be made

     17    depending on what the factors are, but I personally would

     18    feel sad about it, yes, I think so in general.

     19                MR. EMMICK:     We are satisfied, Your Honor.

     20                THE COURT:     Thank you.

     21                Satisfied, Mr. White?

     22                MR. WHITE:     Yes.

     23                THE COURT:    Mr. Steward?

     24                MR. STEWARD:    Yes.

     25                THE COURT:    We are going to ask you to come back


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       1    on February 22.     We are going to write that down for you.

       2    We are going to make that at 8:30 in the morning.           Let me

       3    explain what is going to happen.          We are bringing back all

       4    the jurors who are acceptable to both sides, so it's going

       5    to be a large jury pool, and in the next two days, we

       6    believe we are going to get a jury, Wednesday and Thursday.

       7    Maybe we will go over to Friday, but I think counsel will

       8    know you well enough to go through the process pretty

       9    quickly, and we are going to get a number of alternates

      10    also, and that will be our jury.         So you will know if you

      11   are one of those selected jurors or not very quickly.

      12               So thank you very much.        If you could return the

      13   questionnaire to Lisa.

      14               You are also supposed to call us on the 21st, but

     15    don't worry about that.      No matter what, come the 22nd.          I
     16    never trust the mechanical voice.

     17                PROSPECTIVE JUROR NO. 25:        They usually even call

     18    us personally the day before, and then we call in again.

     19    They keep reminding us.

     20                THE COURT:    We are going to call and make sure we

     21    keep reminding everybody, but it's going to be 8:30 on

     22    Wednesday no matter what.

     23                Thank you very much.      It's been a pleasure meeting

     24

     25               (Prospective Juror No. 25 exits courtroom.)


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       1                THE COURT:    Counsel, with 26, I didn't see

       2    anything filled out on Question No. 14.            I thought in

       3    reading the questionnaire that the person had obviously made

       4    a mistake on 62, that they didn't really understand the

       5    question.    This isn't a person who -- it appears at least on

       6    the face of the questionnaire that the person is fairly --

       7    pretty much right down the middle at least on the paper.           I

       8    can confuse the issue more if you like by going back to 62,

       9    but it just seems to me by the other answers that I didn't

      10    intend to inquire.

      11                Now, after the questions, I'll turn to each of

      12    you, and if you really want to, we can backtrack, so we

      13   always have the option.

     14                 Let's bring out No. 26, please.

     15                 (Prospective Juror No. 26 enters courtroom.)

     16                 THE COURT:   Good morning.      How are you today?

     17    Would you come over and join me.          It's nice meeting you.

     18                 PROSPECTIVE JUROR NO. 26:       You, too.

     19                 THE COURT:   Why don't you have a seat here in this

     20

     21                 Let me begin first of all by thanking you for

     22    filling out the questionnaire.

     23                 PROSPECTIVE JUROR NO. 26:       Certainly.

     24                 THE COURT:   Second, when we sent you that jury

     25    summons, we estimated nine months.          I'm being very cautious.


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       1    The case will not take nine months of your life in trial,

       2    but it could cover a long period of time.          There may be

       3    numerous interruptions and continuances even without

       4    explanation to the jury, and I apologize to you beforehand.

       5               You know, in my mind, I have got to watch all the

       6    attorneys and make certain they are prepared.             Part way

       7    through they probably have to get a gasp of air in the sense

       8    that they have a lot of witnesses on each side and a lot

       9   that they are going to be involved with.          Their days will

      10   just begin, frankly, when all of us go home.          The witnesses

      11   are coming from different locations.          There is a lot of

     12    things that could happen, and you just won't get an

     13    explanation.     There will just be a continuance.          Sometimes I

     14    can't negotiate the dates with people.          I'll just set a

     15    time.

     16                I want to thank you for responding to the

     17    questionnaire.

     18                Now, we wanted to give each juror time to go

     19    through this questionnaire and see if there was anything

     20    that they wanted to change or modify.          If so, could you just

     21    tell us the question.

     22                PROSPECTIVE JUROR NO. 26:        On page one, basically

     23    just different communities I have lived in.          After thinking

     24    about it, I probably omitted them, just forgot really.

     25               THE COURT:     So you have North Hollywood, North


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       1    Ridge, Walnut.

       2               PROSPECTIVE JUROR NO. 26:        And I can add also

       3    Pomona, Milwaukee.

       4               THE COURT:    Excellent.

       5               PROSPECTIVE JUROR NO. 26:        Moving down, I just

       6    added a couple of other things for No. 9, my spouse.            I

       7    added "hiking and movies."

       8               Moving to the second page, I mentioned on No. 14

       9   that I was unemployed at this time.          I had not done that

     10    before.    I just put "NA."     I just wanted to explain that.

     11                Then also under (d), I did list other types of

     12    jobs that I have had.

     13                THE COURT:    Give me an example.

     14                PROSPECTIVE JUROR NO. 26:        Laboratory medical

     15    assistant, receptionist, hotel reservations, advertising

     16    window display.

     17                THE COURT:    Thank you.

     18                PROSPECTIVE JUROR NO. 26:        On No. 49, I just

     19    mentioned there how many hours a day.             Looking over there, I

     20    realized I hadn't filled that out.          I just put one or two

     21    hours.    I am not a real TV watcher.

     22                Back on No. 72 --

     23               THE COURT:     "If a person is sentenced to death, do

     24    you believe that in fact the person will be put to death?"

     25               PROSPECTIVE JUROR NO. 26:         I had put "No," but I


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       2                That would be it.

       3               THE COURT:    Thank you very much.

       4               PROSPECTIVE JUROR NO. 26:        You're welcome.

       5               THE COURT:    Not so fast, though.      You're not

       6    leaving.

       7               PROSPECTIVE JUROR NO. 26:        I thought I was done.

       8               THE COURT:    I saw you getting your purse and --

       9    I'm just joking with you.

      10               In cases where the government is seeking the death

      11    penalty against a defendant, the law provides for a

      12    two-stage trial in front of the same jury.         However, when I

      13   ask the following questions, I don't want you to assume that

      14   this trial will necessarily reach this second stage, but if

      15   it did, it's important that I ask you questions now about

      16   your thoughts and feelings concerning the death penalty.

     17                In the first trial, the jury's job is the same as

     18    it would be in any other criminal case, to decide if the

     19    accused is guilty or not guilty.          If, and only if, the jury

     20    returns a verdict of guilty against either defendant Mr.

     21    Mills or defendant Mr. Bingham as to the counts alleged

     22    against them which potentially carries a sentence of death,

     23    the same jury will have the task of considering the penalty

     24    in that second or penalty phase trial.          We oftentimes refer

     25    to it as the penalty phase trial.          In that case, the jury


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       1    will hear additional evidence and arguments, and you will be

       2    asked to weigh various aggravating and mitigating factors

       3    that I will explain to you if we get to that second trial.

       4                Based upon these considerations, the jury by

       5    unanimous vote shall recommend whether the defendant should

       6    be sentenced to death or to life imprisonment without

       7    possibility of release.

       8               Now, in any case in which the charge carries a

       9    possible penalty of death, the law requires that jurors

      10    answer questions regarding their thoughts, feelings and

      11    opinions about the possible penalties.           That's why there is

      12    a significant intrusion by us into your personal thoughts,

      13    which are not really any of our concern otherwise.

      14               My questions are really very few.

      15               Would you automatically find for death without

      16   fairly weighing the aggravating and mitigating factors if we

      17   got to this second trial or penalty phase trial?

     18                PROSPECTIVE JUROR NO. 26:        Absolutely not.   I

     19    would weigh all the evidence, and at that time -- everything

     20    that was posed to the Court.

     21                PROSPECTIVE JUROR NO. 26:        Is there a substantial

     22    likelihood -- I have changed the standard from automatic to

     23    substantial likelihood.      Is there a substantial likelihood

     24    that you would find for death without fairly weighing the

     25    aggravating and mitigating factors?


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       1                 PROSPECTIVE JUROR NO. 26:       No.

       2                 THE COURT:   Let me reverse that for a moment and

       3    take the opposite of the coin.

       4                 Would you automatically never find for death

       5    without fairly weighing the aggravating and mitigating

       6    factors?

       7                 PROSPECTIVE JUROR NO. 26:       No.

       8                 THE COURT:   Is there a substantial likelihood that

       9    you would never find for death without fairly weighing the

      10    aggravating and mitigating factors?

      11                 PROSPECTIVE JUROR NO. 26:       No.

      12                 THE COURT:   I don't think that I have any further

      13    questions.

      14                 Counsel, you can inquire about Question 62 if you

      15    would like to.    It's up to you.

      16               MR. STEWARD:     No, Your Honor.

      17               THE COURT:     Mr. White?

     18                MR. WHITE:     No, thank you, Your Honor.

     19                THE COURT:     Mr. Emmick?

     20                MR. EMMICK:     Nothing from the government, Your

     21    Honor.

     22                THE COURT:     Is everyone satisfied?

     23                MR. STEWARD:     Yes, Your Honor.

     24                MR. WHITE:     Yes, Your Honor.

     25                MR. EMMICK:     Yes, Your Honor.


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       1                THE COURT:    Ms. Flynn?

       2                MS. FLYNN:    It's fine.

       3                THE COURT:    We are going to invite you to come

       4    back on Wednesday, February 22, and we are also going to ask

       5    you to call the clerk on the 21st, but I don't trust that

       6    mechanical voice.      So we are going to resume February 22 no

       7    matter what anybody tells you at 8:30 in the morning.           If

       8    you would be kind enough to leave your questionnaire with

       9   the clerk.

      10               Also, on that day, we are bringing all of you back

     11    that both sides are accepting, and that's when we really

      12   start the jury.     We will get a jury I think within two days

     13    on Wednesday and Thursday.         We could go to Friday because of

     14    the number of people, but you will know if you are a juror

     15    or alternate in that period of time.          Thank you very much.

     16                (Prospective Juror No. 26 exits courtroom.)

     17                THE COURT:     I didn't see anything significant on

     18    Juror No. 27 except on question -- there are some personal

     19    opinions, but I didn't see anything --

     20                MR. STEWARD:    73, Your Honor.

     21                THE COURT:    The multiple murders.

     22                Would you ask 27 to join us, please.

     23                (Prospective Juror No. 27 enters courtroom.)

     24                THE COURT:    Good morning.      How are you, sir?    Come

     25    and join us.


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       1                PROSPECTIVE JUROR NO. 27:       Okay.

       2                THE COURT:    Have a seat over here.

       3                First of all, I want to thank you for filling out

       4    the jury questionnaire, and we tried to give sufficient time

       5    if you wanted to change the questionnaire to make any

       6    notations in red ink so we knew what the changes were.

       7               Have you made any changes?

       8               PROSPECTIVE JUROR NO. 27:        No.

       9               THE COURT:     Second, when we sent you that jury

      10    summons, we said we were going to take you for nine months

      11    in a jury trial.     I can assure you that this is not going to

      12   be a nine-month trial.       I wanted to be cautious and

      13   overestimate the time so that you weren't concerned that I

      14   somehow misled you.       There are going to be numerous

     15    continuance and probably interruptions without explanation

     16    to the jury, but I am making sure that each side can marshal

     17    their witnesses, and they have got to remain focused.            Their

     18    day will just start when all of us go home.

     19                Let me go over a couple of thoughts with you for

     20    just a moment.

     21                In cases where the government is seeking the death

     22    penalty against a defendant, the law provides for a

     23    two-stage trial in front of the same jury.            When I ask you

     24    the questions I am about to ask you, I don't want you to

     25    assume that this trial will necessarily reach this second


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       1    stage.   We sometimes call it a penalty phase, this second

       2    stage.   In the first trial the jury's job is the same as it

       3    would be in any criminal case, to decide if the accused is

       4    guilty or not guilty.       If, and only if, the jury returns a

       5    verdict of guilty against either Mr. Mills, the gentleman

       6    here, or Mr. Bingham, the gentleman here, as to the counts

       7    alleged against them which will potentially carry a sentence

       8    of death, the same jury will have the task of considering

       9    the penalty.    In that case, the jury may hear additional

      10    evidence and arguments and would be asked to weigh various

      11    aggravating and mitigating factors in the second penalty

      12    trial, and I will explain what those factors are to you if

      13    we ever get to that second phase trial.

      14               Based upon these considerations, the jury in a

      15    second penalty phase trial by unanimous vote shall recommend

      16    whether the defendant shall be sentenced to death or to life

      17   imprisonment without the possibility of release.

      18               Now, my questions are very, very few to you, sir.

     19                Would you automatically find for death without

      20   fairly weighing the aggravating and mitigating factors if we

      21   get to a second or penalty phase trial?

     22                PROSPECTIVE JUROR NO. 27:          Would I?

     23                THE COURT:      Yes.

     24                Would you automatically find for death --

     25                PROSPECTIVE JUROR NO. 27:          Not automatically.


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       1                THE COURT:    Is there a substantial likelihood -- I

       2    have changed that from automatic now to substantial

       3    likelihood.    Is there a substantial likelihood that you

       4    would find for death without fairly weighing these

       5    aggravating and mitigating factors if we got to the penalty

       6    phase?

       7               PROSPECTIVE JUROR NO. 27:        No.    I would have to

       8    weigh them.

       9               THE COURT:    Now I am going to change it to the

      10    opposite side.

      11               Would you automatically never find for death

      12    without fairly weighing these aggravating and mitigating

      13   factors?

      14               PROSPECTIVE JUROR NO. 27:        No.

      15               THE COURT:    Is there a substantial likelihood that

      16    you would never find for death without fairly weighing the

      17   aggravating and mitigating factors?

      18               PROSPECTIVE JUROR NO. 27:        No.

     19                THE COURT:    On Question No. 73, would you turn

     20    there for just a moment?       It states:

     21                "73.   Do you believe anyone who has committed

     22    multiple murders should automatically, without consideration

     23    of any other circumstances, be sentenced to death?"

     24                You checked "Yes."

     25                THE COURT:    Now, that may be a factor, but there


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       1    may be mitigating factors, and it would be called upon you

       2    to weigh and balance those.

       3                So my question is are you capable of weighing and

       4    balancing these aggravating and mitigating factors fairly,

       5    or would you automatically find for death if in the first

       6    phase you heard let's say two or more murders that one or

       7    more of the defendants had committed?

       8               PROSPECTIVE JUROR NO. 27:        What was the question

       9    again?

      10               THE COURT:    Would you fairly weigh those

      11    aggravating and mitigating factors, or would you

      12    automatically find for death?

      13               PROSPECTIVE JUROR NO. 27:        I would weigh them.    I

      14   probably should have changed that.

      15               THE COURT:    Let me have some follow-up questions,

      16   so I am not concerned.

      17               Mr. White.

     18                MR. WHITE:    Good morning, sir.

      19               PROSPECTIVE JUROR NO. 27:        Good morning.

     20                MR. WHITE:    Sir, I would ask you to turn to

     21    Question No. 61.     It's on the page before.         When asked about

     22    your general feelings regarding the death penalty, you said,

     23    "Yes, if the crime fits."

     24                Do you have in mind certain kinds of crimes that

     25    you think should get the death penalty?


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       1                THE COURT:    The emphasis is on should, not

       2    automatically --

       3                MR. WHITE:    I would like to say should.

       4                MR. WHITE:   Do you have certain kinds of crimes

       5    that you had in mind when you answered No. 61?

       6               PROSPECTIVE JUROR NO. 27:        Yes.    If somebody

       7    committed murder, I think they should -- if they are found

       8    guilty of it, they should get the death penalty.            Sure.

       9               MR. WHITE:    I would assume that when you say

      10    commit murder you are talking about an intentional,

      11    deliberate killing; is that correct?

      12               PROSPECTIVE JUROR NO. 27:        Correct.

      13               MR. WHITE:    Under that -- if that's the crime that

      14    a person has been found guilty of, do you believe under that

      15   circumstance that a person should get the death penalty?

      16               PROSPECTIVE JUROR NO. 27:        I do.

      17               MR. WHITE:    Now referring you back to No. 73 and

     18    asking 73 -- asking you if you find a person guilty of more

     19    than one -- two or more -- of intentional killings, do you

     20    think that's the kind of case that in your mind should

     21    automatically be a death penalty case?

     22                PROSPECTIVE JUROR NO. 27:        Yes.

     23                MR. WHITE:    Now, the question is -- the judge

     24    talked about fairly weighing factors in aggravation and

     25    mitigation.    The question we have for you is if you find a


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       1    person guilty -- if you are convinced beyond a reasonable

       2    doubt that they committed two or more intentional,

       3    deliberate murders, would factors in aggravation or

       4    mitigation be the kind of thing that could cause you to

       5    change your mind and decide that life without the

       6    possibility of release is the appropriate punishment rather

       7    than death?    Is that too long a question?

       8               PROSPECTIVE JUROR NO. 27:        No.    I believe in the

       9    death penalty.

      10               Does that answer your question?

      11               MR. WHITE:     In that circumstance where you found

      12    somebody guilty of two or more intentional premeditated

      13    murders, you are not going to be interested in factors in

      14    mitigation or aggravation?        Is that correct?

      15               PROSPECTIVE JUROR NO. 27:        That's correct.

      16               MR. WHITE:     Nothing further.

      17               THE COURT:     Mr. Steward?

      18               MR. STEWARD:    No, Your Honor.

     19                THE COURT:    Mr. Emmick?

     20                MR. EMMICK:    Ms. Flynn.

     21                THE COURT:    Ms. Flynn.

     22                MS. FLYNN:    Putting aside your beliefs on the

     23    death penalty that -- you seem to have an inclination of

     24    being pro death penalty.       Could you put those beliefs aside

     25    and weigh aggravating and mitigating factors in deciding


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       1    whether the death penalty or life without the possibility of

       2    release should be imposed?

       3                PROSPECTIVE JUROR NO. 27:       No, I don't think so.

       4                MS. FLYNN:    Nothing further.

       5               THE COURT:     Thank you very much.

       6               Is there a motion?

       7               MR. STEWARD:     Yes, Your Honor.

       8               THE COURT:     Is there opposition?

       9               MR. EMMICK:     We will submit.

      10               THE COURT:     Sir, we are going to thank you and

      11    excuse you.    We want to thank you for your very candid

      12    answers with us.     If you would be kind enough to give the

      13    questionnaire to the clerk.       You don't have to come back and

      14    see us.   We are going to get you on another case, though.

      15   Thanks a lot.     It was a pleasure meeting you.

      16               (Prospective Juror No. 27 excused.)

      17               THE COURT:     No. 28, I didn't see anything on 28

      18   until -- I didn't see anything on 28.

      19               MR. EMMICK:     We have nothing, Your Honor.

      20               (Prospective Juror No. 28 enters courtroom.)

      21               THE COURT:     How are you?     Come and join us.   It's

      22   nice meeting you.       It's a pleasure.     Why don't you have a

     23    seat across the table from me.

     24                First of all, I want to thank you for filling out

     25    the questionnaire.


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       1                Secondly, when you received the jury summons, we

       2    estimated nine months.      I have been overly cautious in that

       3    regard.    I don't believe the case will take nine months.

       4    Certainly if it does, it may take place over a long duration

       5    of time.    There are going to be numerous continuances.

       6    Unfortunately, you won't get an explanation from the Court,

       7    but I'm watching how counsel are holding up, and there are

       8    witnesses are coming from numerous locations.

       9               I wanted to give each of the jurors time to fill

      10    out this questionnaire again or to look at it again.

      11               Have you made any modifications or changes?

      12               PROSPECTIVE JUROR NO. 28:          Yes.

      13               THE COURT:     We asked you to do that in red ink.

      14               Could you go through those changes?

      15               PROSPECTIVE JUROR NO. 28:          There were just two

      16    changes.   No. 28.

      17               THE COURT:     "28.     Have you or any family members

      18   or close friends ever had a positive experience involving

      19   the police or other law enforcement agencies?"

      20               PROSPECTIVE JUROR NO. 28:          The recovery of

      21

      22               No. 67.

      23               THE COURT:     "67.     Are your views expressed above

     24    as set forth in 62 through 65 based on other reasons such as

     25    social or political considerations?"


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       1                 You checked "No."

       2                 PROSPECTIVE JUROR NO. 28:       The change is a "Yes."

       3    Really the explanation is after reviewing No. 66 it seemed

       4    to me it either needed to be yes for one of those two

       5    questions.

       6               THE COURT:     Okay.

       7               Let me begin by saying that in cases where the

       8    government is seeking the death penalty against a defendant,

       9    the law provides for a two-stage trial in front of the same

      10    jury.   This second stage we often refer to or you will hear

      11    us refer to it as a penalty phase trial.            However, in asking

      12    you some of the questions I am about to ask you, I don't

      13    want you to assume by my questions that I believe that we

      14    are going to get to a second trial.          I just don't know.

      15               In the first trial, the jury's job is the same as

      16    it would be in any other criminal case, to decide either the

      17    guilty or innocence of the defendant or defendants.           If, and

      18   only if, the jury returns a verdict of guilty against either

      19    defendant Mr. Mills or defendant Mr. Bingham as to the

      20   counts alleged against them which potentially carry a

      21   sentence of death, then the same jury will have the task of

      22   considering the penalty.       In that case, the jury may hear

      23   additional evidence and arguments that will -- you will be

      24   asked to weigh various aggravating and mitigating factors,

      25   and I will explain those to you at that time if we get to


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       1    this second penalty phase trial.

       2               Based upon those considerations in the second or

       3    penaly phase trial, by unanimous vote, the jury shall

       4    recommend whether the defendant should be sentenced to death

       5    or life without the possibility of release.

       6               Now, in any case where the charge carries the

       7    possible penalty of death, the law requires that jurors

       8    answer questions regarding their thoughts, feelings and

       9    opinions about the possible penalties.             That's why we have

      10    intruded into the very private and personal part of your

      11    life.   Otherwise, this is of no concern to us.

      12               I just have four basic questions that you probably

      13    answered on the sheet, but I wanted the opportunity to speak

      14    with each of you over the next couple of days individually

      15    because I don't want other jurors to pick up other jurors'

      16    answers, and I don't think it's other jurors' business,

      17    quite frankly, about this personal discussion.

      18               Would you automatically find for death without

      19   fairly weighing the aggravating and mitigating factors if we

      20   get to a penalty phase trial?

      21               PROSPECTIVE JUROR NO. 28:         No.

      22               THE COURT:     Is there a substantial likelihood that

      23    you would find for death without fairly weighing the

      24   aggravating or mitigating factors if we got to the second

      25   trial?


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       1                PROSPECTIVE JUROR NO. 28:        No.

       2                THE COURT:     Now the opposite side of the question,

       3    would you automatically never find for death without fairly

       4    weigh the aggravating and mitigating factors in a second

       5    phase trial?

       6                PROSPECTIVE JUROR NO. 28:        No.

       7                THE COURT:     Is there a substantial likelihood that

       8    you would never find for death without fairly weighing the

       9    aggravating and mitigating factors?

      10                PROSPECTIVE JUROR NO. 28:        No.

      11                THE COURT:     Thank you very much.

      12                Let me make sure counsel doesn't have any

      13   questions.

      14                Any questions?

      15                MR. STEWARD:    No, Your Honor.

      16                THE COURT:    Mr. White?

      17                MR. WHITE:    No, Your Honor.

      18                THE COURT:    Mr. Emmick?

      19                MR. EMMICK:    No, Your Honor.

      20                THE COURT:    We are going to ask you to return to

      21   us on February 22 -- it's a Wednesday -- at 8:30 in the

     22    morning.     I don't care what the mechanical voice says that

     23    calls you.     I don't trust that mechanical voice.           I'm just

     24    kidding you.     We are going to give you a slip in that

     25    regard.    It will say to call in, and we will ask you to call


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       1    in, but we are starting February 22 no matter what at 8:30.

       2               Now, here is what will happen, though.            You are

       3    going to join a group of jurors who have gone through the

       4    same process that both sides are finding acceptable.             That's

       5    when we really get the jury, so from that, we will select 12

       6    jurors and maybe 8 to 12 alternates, but we believe because

       7    of this process that we are going through now that can get

       8    the jury Wednesday and Thursday, maybe at the outside

       9    Friday, but you will know who is sitting at that time.

      10               Thank you very much.       Would you be kind enough to

      11    return the questionnaire to Lisa.

      12               PROSPECTIVE JUROR NO. 28:         Thank you.

      13               (Prospective Juror No. 28 leaves courtroom.)

      14               THE COURT:     Juror No. 29, the only oddity I

      15    noticed was 73 and 68.

      16               MR. EMMICK:     Your Honor, I think he indicated he

      17    has back problems.

      18               THE COURT:     Remind me of that.

      19               (Prospective Juror No. 29 enters courtroom.)

      20               THE COURT:     Good morning.      How are you?    Why don't

      21    you come and join me.      If you would be kind enough to have a

      22   seat in this chair right across from me.             How are you today?

      23               PROSPECTIVE JUROR NO. 29:         Fine.

      24               THE COURT:     First of all, I want to thank you very

      25    much for filling out the questionnaire.


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       1                PROSPECTIVE JUROR NO. 29:       All right.

       2               THE COURT:     I wantED to also provide the

       3    opportunity for you and the other jurors if you had

       4    modifications or changes to make those in red ink before I

       5    ask you a few questions.

       6               Second, I want to say to you that when you

       7    received the jury summons is stated nine months.          I am being

       8    overly cautious.     I don't believe the case is going to take

       9    nine months, but it could be over a long duration of time.

      10   There may be numerous continuances where I am just not

      11   allowed to give the jury any explanation.           You are just out

      12   of session for a week or three weeks or a month.           I just

      13   don't know yet.     As such, I wanted to be cautious.        I didn't

      14   want you to be misled.

     15                Have you made any changes?        If so, I would like to

     16    go over the number of the questions so the attorneys will

     17    know what those changes are on the questionnaire.

     18                PROSPECTIVE JUROR NO. 29:        Yes.   The changes -- I

     19    just added to l9.       I have "Family, money, and work."

     20                20, God and family basically.

     21                23, I was thinking more current, but in like 1970,

     22    I tried out for the Orange County Sheriff's Department.              I

     23    don't know how far I got in that because I was a student in

     24    college, and they wanted -- they didn't want a student, so I

     25    don't know how far that went.


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       1                THE COURT:   Could I ask you about 27 for just a

       2    moment?

       3                PROSPECTIVE JUROR NO. 29:        Ask it.

       4                THE COURT:   On 27, was that your brother?

       5                PROSPECTIVE JUROR NO. 29:        That was my brother.

       6    My brother -- my brother was convicted and sentenced for

       7    drugs, trafficking or selling.       I'm not sure which one.          He

       8    was incarcerated in I think Lompoc for like a year.

       9                What happened here is he was having dinner.          He

      10   had been out a couple of years.           He was having dinner in

      11   Anaheim, and he had an aneurysm attack.             The police came in

      12   and handcuffed him in the restaurant.             He was unconscious.

     13    They pulled him out and threw him in the backseat of the

     14    car, and two hours later he died.

     15                 THE COURT:   Died from the aneurysm?

     16                 PROSPECTIVE JUROR NO. 29:       He died from

     17    asphyxiation, and that was caused by the aneurysm that --

     18                 THE COURT:   I'm sorry to inquire into that, but

     19    the Ninth Circuit --

     20                 PROSPECTIVE JUROR NO. 29:       Yes.

     21                 THE COURT:   What's the next area that you changed?

     22                 PROSPECTIVE JUROR NO. 29:       33, clarification,

     23    "Yes."     At a college party, somebody pointed a gun at me.

     24    Nothing happened.

     25                34, at a park, somebody pulled a knife on me.


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       1    They wanted my money.      No big thing.

       2               36, I said "No," but when I go back to the history

       3    on that, I was out of high school.         My best friend got

       4    involved in heroin.     I basically kept away from him when he

       5    got involved in heroin?

       6               THE COURT:    Did your brother also have a drug

       7    problem initially?

       8               PROSPECTIVE JUROR NO. 29:        No -- marijuana.       I

       9    don't think marijuana is a drug problem, but -- that's my

      10   opinion.    It wasn't that much.

      11               48, Channel 4 plus other channels.

      12               75, basically my brother died at police hands.              I

      13   just learned about a week ago -- over the holidays, I have

      14   located family and cousins and stuff like like that.            I

      15   found out one of my cousins is in San Quentin and has been

     16    there like ten years.      I don't really know him, but I

     17    thought I had to bring that up.

     18                THE COURT:    Thank you very much.

     19                In cases where the government is seeking the death

     20    penalty against a defendant, the law provides for a

     21    two-stage trial in front of the same jury.            When I ask you

     22    these questions, I don't want you to necessarily assume that

     23    we will get to this second stage in front of the same jury.

     24    We call that a penalty phase trial, but if we did, I'm

     25    required to required by law to ask questions now.


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       1                In the first trial, the jury's job is the same as

       2    it would be in any other criminal case, to decide if the

       3    accused is guilty or not guilty of the offense.           If, and

       4    only if, the jury returns a verdict of guilty against either

       5    defendant Mr. Mills or defendant Mr. Bingham as to the

       6    counts alleged against them which potentially will carry a

       7    sentence of death, the same jury will have the task of

       8    considering the penalty.      In that case, the jury may hear

       9    additional evidence and arguments and will be asked to weigh

      10    various aggravating and mitigating factors that I will

      11    explain to you if we get to that second penalty phase trial.

      12                Based upon these considerations, the jury by

      13   unanimous vote shall recommend whether the defendant should

      14   be sentenced to death or to life imprisonment without

      15   possibility of release.       In any case in which the charge is

      16   carry this possible penalty of death, the law requires me to

      17   ask jurors and the jurors to answer questions regarding

     18    their thoughts, feelings and opinions about the possible

      19   penalties.    Otherwise, no one should be intruding into that

     20    very personal part of your life.

     21                I just have four basic questions for you.         Then I

     22    will see if counsel have any additional questions.

     23                Would you automatically find for death without

     24    fairly weighing the aggravating and mitigating factors if we

     25    get to this penalty phase?


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       1                PROSPECTIVE JUROR NO. 29:       I'm not opposed to the

       2    death penalty.

       3               THE COURT:    I saw that.      I expect I'm going to

       4    have people pro and people opposed.         In other words, I'm

       5    going to have both sides when I talk to the jurors.          That's

       6    not my question.

       7               My question is if you would automatically find for

       8    death without fairly weighing these aggravating and

       9    mitigating factors if we got to the second or penalty phase

      10    trial?

      11               PROSPECTIVE JUROR NO. 29:        I would weigh the

      12   differences.

      13               THE COURT:    You would weigh the aggravating and

      14    mitigating factors?

     15                PROSPECTIVE JUROR NO. 29:        Yes.

     16                THE COURT:    Is there a substantial likelihood -- I

     17    have changed that from automatic.          I have just changed now

     18    to substantial likelihood.         Is there a substantial

     19    likelihood that you would find for death without fairly

     20    weigh these aggravating and mitigating factors in a penalty

     21    phase trial?

     22                PROSPECTIVE JUROR NO. 29:        No.

     23                THE COURT:    The opposite side of the coin now is

     24    would you automatically never find for death without fairly

     25    weigh these aggravating and mitigating factors?


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       1                PROSPECTIVE JUROR NO. 29:        No.

       2                THE COURT:    Is there a substantial likelihood that

       3    you never find for death without fairly weighing the

       4    aggravating and mitigating factors?

       5                PROSPECTIVE JUROR NO. 29:        No.

       6               THE COURT:     Can you turn to Question No. 68?         It

       7    says:

       8               "68.   Could you set aside your own personal

       9    feelings about what the law ought to be and follow the law

      10    as the Court explains it to you?"

      11               You marked "No."

      12               If that's a correct answer, could you talk to me a

      13    little bit about that.

      14               PROSPECTIVE JUROR NO. 29:         If I hear a case, I

      15    would vote on my own what I feel should happen.

      16               THE COURT:     Would you follow my instructions on

      17    the law, though, if I gave you certain aggravating and

      18    mitigating factors that you were to consider and ask you to

      19   fairly balance those?

      20               PROSPECTIVE JUROR NO. 29:         I would try.    It would

      21   be hard, but I would try.

      22               THE COURT:     What would your inclination be?        Why

      23   don't you follow up and tell me what you are thinking when

      24    you have a concern about following my instructions in that

      25   regard.


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       1                PROSPECTIVE JUROR NO. 29:        I'm not familiar with

       2    the criminal system and all that stuff, only in that it

       3    is -- if I heard a case and my feeling is this should be the

       4    result, I'm going to go with my beliefs.            If you say, no,

       5    you can't go with those beliefs, then we are going to be in

       6    opposition.    Sorry.    Nothing personal.

       7                THE COURT:    I would never tell you what to do.

       8    You're the jury.     I would give you instructions, though,

       9    about how to go about it.

      10               PROSPECTIVE JUROR NO. 29:         I would have no problem

      11    in being --

      12               THE COURT:     Question 72, if you could turn to

      13    that, it says:

      14               "72.   Do you believe anyone who has committed

      15    multiple murders should automatically, without consideration

      16    of any other circumstances, be sentenced to death?"

      17               The question is designed to ask if you would

      18    automatically find for death without weighing other

      19    circumstances, if there were circumstances for

      20    considering -- there might be mitigating factors, and you

      21    would be called upon to balance those.

      22               The question is if you would automatically find

      23   for death without fairly weighing the mitigating factors.

      24   Then we need you to tell us that.

      25               PROSPECTIVE JUROR NO. 29:         No.    I would listen to


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       1    the factors.     I could be swayed because of the

       2    circumstances.

       3                 THE COURT:    Let me go back just a moment to

       4    Question No. 75.

       5                 Did I see something about a back issue?

       6                 MR. EMMICK:    That was 59.

       7               PROSPECTIVE JUROR NO. 29:         I have a curvature of

       8    the spine.    Maybe these chairs would be convenient.             Those

       9    chairs are real uncomfortable.

      10               THE COURT:      You can stand up anytime and stretch

      11    if you are selected to be a juror.

      12               PROSPECTIVE JUROR NO. 29:         That would be fine.

      13               THE COURT:      Electronic engineer, design.          I don't

      14    want to know who you work for or where you work, but my

      15   guess is you haven't talk to your employer yet, or if you

      16    are independent, so be it, but nine months is a long time.

      17               Are you going to have any difficulty --

      18               PROSPECTIVE JUROR NO. 29:         I would have major

      19   difficulty because I am 60 years old.              I am the only person

      20   in the department.       The department needs me because I'm,

      21   multi-faceted in many different aspects of it.                If I took

      22   the job and got involved in the thing, I would be -- it

      23   would be difficult.        I would lose the job because I -- at 60

     24    years old, I would have to find another job.             I work for a

     25    company, but --


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       1                THE COURT:    You would lose your job?

       2                PROSPECTIVE JUROR NO. 29:       I would lose my job.

       3    They would have to get somebody else to bring in.

       4               THE COURT:    Counsel.

       5               MR. WHITE:    We would stipulate.

       6               THE COURT:    Mr. Emmick, do you want to follow up

       7    with questions?

       8               MR. EMMICK:     We would agree to stipulate.

       9               THE COURT:    We are going to thank and excuse you.

      10    I want to compliment you for responding.         None of us want

      11    anybody to lose their job.        It's very civic minded for you

      12    to go up to this point, but we don't want you to be placed

      13    in that hardship position.

      14               PROSPECTIVE JUROR NO. 29:        It would be difficult.

      15               THE COURT:    Sir, thank you very much.        If you

      16   would please leave your questionnaire with Lisa.           Thank you.

      17               (Prospective Juror No. 29 excused.)

     18                THE COURT:    Counsel, the next juror is No. 30.         I

     19    didn't see anything until I got to No. 33.          I'm not going to

     20    allow questioning now -- it's general voir dire -- but his

     21    son was shot at work in Irvine last April.          Apparently the

     22    person has not been located who committed the crime.           In all

     23    other particulars, including the death qualification

     24    questions, the person seemingly answered appropriately.

     25                Did you see anything on behalf of the government?


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       1                MR. EMMICK:    The only thing we noted was his

       2    comment in 61 about "Because of what he did was very, very

       3    bad."    It just seemed strong, but I'm not sure it even

       4    warrants further inquiry.

       5               THE COURT:     I don't think so at this time.         I'l1

       6    leave that for general voir dire.         I'm looking for obvious

       7    bias or prejudice.

       8               Do you see anything you want clarified at this

       9    time?

      10               MR. WHITE:     No, Your Honor.

      11               THE COURT:     Would you bring Juror No. 30 in,

      12   please.

      13               (Prospective Juror No. 30 enters courtroom.)

      14               THE COURT:     Hello, how are you today.         Why don't

      15    you come over and join me.        It's nice meeting you.      Would

      16   you be kind enough to have a seat in this chair opposite

     17    from me .

      18               First of all, I want to thank you for filling out

     19    the questionnaire.

     20                When we sent out the jury summons to you, we

     21    estimated a nine-month trial.        I can assure you that you

     22    won't be in trial every day for nine months.            I wanted to be

     23    overly cautious so that you didn't have any anger or feeling

     24    that you were misled.      The case can take nine months over

     25    the duration of time, but there are going to be numerous


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       1    continuances during the trial.        I need to make certain the

       2    witnesses get here from different locations.           I need to be

       3    careful that the attorneys are holding up to the stress, so

       4    you will get these periods of time, and you'll never know

       5    why.   I can assure you that's going to occur.

       6               Have you made any modifications or changes to the

       7    jury questionnaire?     I asked you to use a red pen.        Why

       8    don't I have you go through it.

       9               On No. 10, you listed a son - warehouse?

      10               PROSPECTIVE JUROR NO. 30:        Yes.

      11               THE COURT:    What's the next question you made

      12    changes to?

      13               PROSPECTIVE JUROR NO. 30:        No. 16.

      14               THE COURT:    "16.     Have you had any training or

      15   education in the following fields?"

      16               PROSPECTIVE JUROR NO. 30:        Homemaking.

      17               THE COURT:    Okay.    What's the next question?

      18               PROSPECTIVE JUROR NO. 30:        22.    I have served

     19    before, but I forget where it was, in which court.

      20               53.

     21                THE COURT:    "Do you like to read books?"

     22                PROSPECTIVE JUROR NO. 30:        Yes, church books,

     23    magazines, and some novels.

     24                That's it.

     25                THE COURT:    Thank you very much.


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       1                I want to start by explaining to you that where

       2    the government is seeking the death penalty against the

       3    defendant the law provides for a two-stage trial in front of

       4    the same jury.     The second stage is often called a penalty

       5    phase trial.    By asking you the questions I am going to ask

       6    you, I don't want you to assume that we are going to

       7    necessarily get to this second or penalty phase trial, but

       8    in case we do, it's important that I ask you questions now

       9    about your thoughts and feelings concerning the death

      10    penalty.

      11               In the first trial, the jury's job is the same as

      12    it would be in any other criminal case, to decide if the

      13    accused is guilty or not guilty.          If, and only if, the jury

      14    returns a verdict of guilty against either defendant Mr.

      15    Mills or defendant Mr. Bingham as to the counts alleged

      16    against them which potentially carry a sentence of death,

      17    the same jury will have the task of considering the penalty

      18    in a second trial, what we call this penalty phase trial.

      19    In that case, the jury may hear additional evidence and

      20   arguments and will be asked to weigh various aggravating and

      21    mitigating factors.      Now, I will explain that to you if we

      22   get to a second or penalty phase trial.

      23               Based upon these considerations, by unanimous

     24    vote, the jury shall recommend whether the defendant shall

     25    be sentenced to death or to life imprisonment without the


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       1    possibility of release.

       2               In any case in which the charge carries a possible

       3    penalty of death, the law requires that jurors answer

       4    questions regarding their thoughts, feelings and opinions

       5    about the possible penalties.       That's why we are inquiring

       6    into a very personal part of your life.            Otherwise, it's

       7    none of our business, frankly.

       8               I have just a few questions.           I think you have

       9    already answered them already on the questionnaire, but we

      10    wanted to be sure.      We are talking to each of you

      11    individually because you will give us more thoughtful

      12    answers, and it will be unfluenced and unbiased without

      13   other jurors sitting around you.          I don't want them to pick

      14   up your answers.

      15               Would you automatically find for death without

      16   fairly weighing the aggravating and mitigating factors if we

      17   get to a second or penalty phase trial?            Would you

     18    automatically find for death without fairly weighing these

     19    aggravating and mitigating factors if we get to a penalty

     20    phase trial?

     21                PROSPECTIVE JUROR NO. 30:        No.

     22                THE COURT:    I am going to ask the same question

     23    but with a little bit different standard.            I am going to use

     24    the words "substantial likelihood."

     25                Is there a substantial likelihood that you will


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       1    find for death without fairly weighing the aggravating and

       2    mitigating factors in a penalty phase trial?

       3                 PROSPECTIVE JUROR NO. 30:       No, I don't think so.

       4               THE COURT:     Now the opposite of those two

       5    questions.

       6                 Would you automatically never find for death

       7    without fairly weighing the aggravating and mitigating

       8    factors in a penalty phase trial?

       9               PROSPECTIVE JUROR NO. 30:         No.

      10               THE COURT:     Is there a substantial likelihood that

      11    you would never find for death without fairly weighing the

      12    aggravating and mitigating factors in a penalty phase trial?

      13               PROSPECTIVE JUROR NO. 30:         I don't think so.

      14               THE COURT:     Okay.    I don't think I have any

      15   questions, but let me check with counsel.

      16               Mr. Steward?

      17               MR. STEWARD:     No questions.

      18               THE COURT:     Mr. White?

     19                MR. WHITE:     No questions.

     20                THE COURT:     Mr. Emmick, and, Ms. Flynn?

     21                MR. EMMICK:     No questions.

     22                THE COURT:     Thank you very much.        We are going to

     23    have you come back on February 22, and Lisa is going to give

     24    you a reminder in just a moment when you walk out that door.

     25    I know the jury commissioner has instructed you to phone in


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       1    on the 21st.    We want you follow all those instructions, but

       2    I don't trust a mechanical device, so no matter what, we are

       3    starting on February 22 at 8:30 in the morning.

       4                What you know so there is no mystery we are

       5    inviting back a number of jurors that both sides are

       6    agreeing to, and on that day, we will actually get the jury.

       7    We will start on Wednesday, and I think we will have a jury

       8    by Thursday, so within two days, we will know who the 12

       9    jurors and possibly 12 alternates who are sitting.

      10               Thank you.     It's been a pleasure meeting you.           If

      11    you would give that to Lisa.

      12               (Prospective Juror No. 30 exits courtroom.)

      13               THE COURT:     Remember we have some jurors who came

      14    in unexpectedly which were for the afternoon session.            We

      15    are just going to proceed with them.          Then the last jury I

      16   think we will take is No. 47.         He came in today, and he is a

      17   little incensed because he needs to take his wife someplace

      18   tomorrow which is his normal day.           Instead of fighting with

      19   the gentleman, let's just take him today.

      20               We will be in recess for about 20 minutes.

     21                (Recess.)

     22                THE COURT:     We are back in session.        All counsel

     23    are present.     The defendants are present.          The parties are

     24    present.

     25                Is 31 next, Lisa?


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       1                THE CLERK:     Yes.

       2                THE COURT:     Counsel, can you see anything

       3    concerning 31?     The answers seemed to be appropriate at

       4    least on paper.     Any indications in any particular area?

       5                MR. EMMICK:     No, Your Honor.

       6                THE COURT:     Would you ask 31 to come in and join

       7    us, please.

       8                (Prospective Juror No. 31 enters courtroom.)

       9                THE COURT:    How are you today?      Come and join me

      10    for just a moment.       It's a pleasure meeting you.      Would you

      11    have a seat for just a second.        You are going to be from now

      12    on Juror No. 31.

      13                We wanted to give you an opportunity to go back

      14    over your jury questionnaire, and if you had any

      15    modifications or different answers than the ones you

      16    previously had given to write those in red ink so we could

      17    keep a record on that.      I see you have one change already.

      18                PROSPECTIVE JUROR NO. 31:        I clarified my wife's

      19   occupation.

      20                THE COURT:    Okay, and that is?

      21                PROSPECTIVE JUROR NO. 31:        She reads books.   She

      22   babysits my grandchildren and shuttles them back and forth

      23   to school.

      24               THE COURT:     Any other changes in the

      25   questionnaire?


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       1                PROSPECTIVE JUROR NO. 31:        No, except for

       2    clarification on Item 23.

       3                THE COURT:   "Daughter just started dating a young

       4    man which I believe works for" -- well, first of all, do you

       5    like him?

       6                PROSPECTIVE JUROR NO. 31:        I don't really know

       7    him.

       8                THE COURT:   I'm just kidding.          The fathers never

       9    like young men.

      10                PROSPECTIVE JUROR NO. 31:        The mothers know them.

      11    The fathers are the last ones to find out.

      12                THE COURT:   But you believe he might work in the

      13    California Department of Corrections?

      14                PROSPECTIVE JUROR NO. 31:        Yes.

      15                THE COURT:   Anything else?

      16                PROSPECTIVE JUROR NO. 31:        I added down that I

     17    have a friend that worked for the Police Department, but he

     18    is retired.

     19                 THE COURT:   Anything else?

     20                 PROSPECTIVE JUROR NO. 31:        The only change I had

     21    was on Item 35.

     22                 THE COURT:   "35.     Have you ever known anyone who

     23    was involved with drugs?"

     24                 PROSPECTIVE JUROR NO. 31:        Yes, I rewrote there

     25    "my youngest brother who is 24 years old."


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       1                Item 37, I just put down, "All his life he has

       2    been in and out of the prison system."

       3               THE COURT:     Once again, I don't want to know his

       4

       5               56.

       6               THE COURT:     "56.    Based on what you have seen or

       7    heard or read, do you have an impression of the alleged

       8    Aryan Brotherhood or the AB?"

       9               PROSPECTIVE JUROR NO. 31:         I just put down the

      10   "woodpack theory."       To me the woodpack theory is weak when

      11    you're alone, strong when in a group.             That applies to most

      12    all groups.

      13               There are no other changes.

      14               THE COURT:    Thank you very much, sir.

      15               When you got the jury summons, we said that the

      16   trial might last for nine months.           I want to assure you,

      17   though, that we won't be in session every day for those nine

      18   months.    I wanted to make sure I estimated a sufficient

     19    period of time so that no juror was being misled.

      20               There may be periods of time during which there is

     21    an unexplained recess.      It could come very early in the

     22    trial in fact.     I just don't know.        As such, you won't get

     23    an explanation.     You just be in recess for a week or maybe a

     24    month.    I am not certain.       Along the way, I need to be make

     25    sure that the attorneys are holding up.             All their days will


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       1    just begin when all of us go home at 5:00.          Also, witnesses

       2    are coming from different locations, so there may be

       3    numerous starts and stops.

       4                PROSPECTIVE JUROR NO. 31:        I understand.

       5                THE COURT:    Now, I want to begin by saying that in

       6    cases where the government is seeking the death penalty

       7    against a defendant, the law provides for a two-stage trial

       8    in front of the same jury.         By asking you the questions I am

       9    going to ask you in a few moments, I don't want you to

      10    believe that necessarily by virtue of my questions that we

      11    are going to get to this second stage trial or what we often

      12    refer to as a penalty stage trial, but if we did, it's

      13    important that I ask you questions concerning your thoughts

      14    and feelings about the death penalty now.

      15               In the first trial, the jury's job is the same as

      16    it would be in other criminal case, to decide if the accused

      17    is guilty or not guilty.      If, and only if, the jury returns

      18    a verdict of guilty against either defendant Mr. Mills or

      19    defendant Mr. Bingham as to the counts alleged against them

      20    which potentially carry a sentence of death, the same jury

      21    will then be asked to consider the penalty.          In that case,

      22    in this second penalty phase trial in front of the same

      23    jury, that jury will hear additional evidence and arguments

      24    and will be asked to weigh various aggravating and

      25    mitigating factors, and I explain that to you if we get to


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       1    the second penalty phase trial.

       2               Based upon these considerations, the jury by

       3    unanimous vote shall recommend whether the defendant should

       4    be sentenced to death or to life imprisonment without the

       5    possibility of release.      In any case in which the charge

       6    carries a possible penalty of death, the law requires that

       7    the jurors answer questions regarding their thoughts and

       8   feelings and opinions about the possible penalty.            That's

       9    why we have intruded into a highly personal part of your

      10   life.

      11               My questions are very brief, and then I will turn

      12   to counsel for just a moment.

     13                Would you automatically find for death without

     14    fairly weighing the aggravating and mitigating factors in

     15    the second penalty phase trial?

     16                PROSPECTIVE JUROR NO. 31:        No.

     17                THE COURT:    I am going to change that just a

     18    little bit and use a different standard.

     19                Is there a substantial likelihood that you would

     20    find for death without fairly weighing the aggravating and

     21    mitigating factors in a penalty phase trial?

     22                PROSPECTIVE JUROR NO. 31:        No.

     23                THE COURT:    Now I am going to go to the opposite

     24

     25                Would you automatically never find for death


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       1    without fairly weighing the aggravating and mitigating

       2   factors in this penalty phase trial?

       3                PROSPECTIVE JUROR NO. 31:       No.

       4                THE COURT:    Is there a substantial likelihood that

       5    you would never find for death without fairly weighing the

       6    aggravating and mitigating factors in a penalty phase trial?

       7               PROSPECTIVE JUROR NO. 31:        No.

       8               THE COURT:     Sir, I don't believe I have any other

       9   questions.     Let me check.

      10               Does the government have any questions?

      11               MR. EMMICK:     Nothing, Your Honor.

      12               MS. FLYNN:     No, Your Honor.

      13               THE COURT:     Mr. White, any questions?

      14               MR. WHITE:     No, Your Honor.

     15                THE COURT:     Mr. Steward?

     16                MR. STEWARD:    No, Your Honor.

      17               THE COURT:     I am going to have you return on

     18    February 22 at 8:30 in the morning.          So there is no mystery

     19    you are going to join the other jurors that both sides find

     20    acceptable.     In that regard, we are going to start the jury

     21    selection process, and because of the individual voir dire

     22    that we are going through, the individual discussion with

     23    each of you, I think we will get a jury that Wednesday or

     24    Thursday.     We will have 12 jurors and probably 12

     25    alternates.


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       1                Now, the jury commissioner is instructing you to

       2    phone in.    I don't know what the mechanical voice says.           I

       3    don't trust that mechanical voice.          We are going to start

       4    February 22, Wednesday, and Lisa is going to give you

       5    notification here.       I still want you to call in, but we are

       6    here, and we are starting.         Thank you very much.      It's been

       7   a pleasure.     If you would give your questionnaire to Lisa.

       8                PROSPECTIVE JUROR NO. 31:        Thank you.

       9                (Prospective Juror No. 31 exits courtroom.)

     10                 THE COURT:     Lisa, would No. 32 be the next one?

     11                 THE CLERK:     Yes.

     12                 THE COURT:     Don't bring that person out yet.

     13                 Counsel, I notice that on Question No. 68 the

     14    answer is "No."     On Question No. 73, the multiple murders,

     15    the answer is "Yes."        There was a comment by an eye for an

     16    eye.   I didn't know if that was biblical, and I would like

     17    to follow up on a few questions about that.

     18                 MR. STEWARD:     On 70, Your Honor?

     19                 THE COURT:     On 70, yes.

     20                 MR. STEWARD:     Also, 74(b), press coverage.       Will

     21    you notify the Court?       "No."

     22                 THE COURT:     There won't be anything significant

     23    probably.

     24                 MR. FLEMING:    59, too.      He may have a hearing

     25    problem.


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       1               THE COURT:     What?

       2               Thank you very much.

       3               (Prospective Juror No. 32 enters courtroom.)

       4               THE COURT:     Hello, sir.      How are you today?   Come

       5    onever here.      Why don't you have a seat right here across

       6    the table from me.      I am going to refer to you as Juror No.

       7    32.

       8               We wanted to give each of you an opportunity to go

       9    back over the jury questionnaire and see if there were any

      10    modifications or changes and, if so, to make those notations

      11   in red ink.

     12                Are there any changes?

     13                PROSPECTIVE JUROR NO. 32:         Yes.

     14                THE COURT:     Would you go through those question by

     15    question?

     16                PROSPECTIVE JUROR NO. 32:         68.

     17                THE COURT:     Okay.

     18                "68:    Could you set aside your own personal

     19    feelings about what the law ought to be and follow the Court

     20    explains it to you?"

     21                You previously checked "No."

     22                PROSPECTIVE JUROR NO. 32:         I changed it to "Yes."

     23    I just didn't understand the question.

     24                One more, 75.     I just added something to 75.

     25                THE COURT:     Thank you.


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       1               PROSPECTIVE JUROR NO. 32:         I added, "Being on the

       2    jury from three to four months might be a problem for me

       3    financially and personally."        One month or less is fine with

       4    me.

       5               THE COURT:     Okay.    Now, this could be a nine-month

       6    trial.

       7               PROSPECTIVE JUROR NO. 32:         That would be

       8               THE COURT:     That would be a hardship?

       9               PROSPECTIVE JUROR NO. 32:         Yes, it really would.

      10               THE COURT:     Counsel, I can keep going.

      11               MR. STEWARD:     We are prepared to stipulate.

     12                MR. WHITE:     We would also stipulate.

     13                MR. EMMICK:     We are prepared to stipulate as well.

     14                THE COURT:     I want to thank you for volunteering.

     15    We sent out a number of subpoenas and got responses, but we

     16    are not trying to create a financial or personal hardship.

     17                PROSPECTIVE JUROR NO. 32:         Thank you.

     18                THE COURT:     We are going to thank and excuse you

     19    by stipulation of all counsel.         Would you give this to Lisa

     20    on your way out.

     21                (Prospective Juror 32 excused.)

     22                THE COURT:     Counsel, on 33, on paper, the answers

     23    seem to be appropriate.       I didn't see anything that stood

     24    out.

     25                (Prospective Juror No. 33 enters courtroom.)


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       1                THE COURT:   Hello.    Come over and join me for a

       2    second.   I am going to shake your hand and not worry about

       3    that piece of paper.     If you would have a seat across the

       4    table from me.    How are you?

       5                PROSPECTIVE JUROR NO. 33:       Fine.

       6                THE COURT:   First of all, I want to thank you for

       7   filling out the jury questionnaire.

       8                PROSPECTIVE JUROR NO. 33:       Okay.

       9                THE COURT:   Second, I wanted to provide you an

      10   opportunity if there were any portions of that questionnaire

      11   that you wanted to change or modify, and I asked you and all

      12   the other jurors to make those notations in red.

      13                Have you made any modifications?

      14                PROSPECTIVE JUROR NO. 33:       Yes.

      15               THE COURT:    Could we go those by numbers?          The

     16    first one?

     17                PROSPECTIVE JUROR NO. 33:        "2.    Age"?

     18                PROSPECTIVE JUROR NO. 33:        71.    I had a birthday.

     19                THE COURT:    You went from 55 to 71.

     20                PROSPECTIVE JUROR NO. 33:        Yes.

     21                THE COURT:    That's quite a birthday.

     22                PROSPECTIVE JUROR NO. 33:        No. 9.    I added

     23    "church," and I have a B.S. Degree.

     24                Then 20.    I left that blank before, but I added

     25    Admiral Rickover.


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       1                 THE COURT:   Maybe I have got the wrong one.

       2                 You are Juror No.?

       3                 PROSPECTIVE JUROR NO. 33:       33.

       4                 THE COURT:   I have got the wrong one.          Thank you

       5    very much.     My apologies.     No wonder these didn't match up.

       6                 Counsel, we found 31 to be acceptable, didn't we?

       7               MR. WHITE:     Yes.

       8               THE COURT:     Thank you.

       9               Where were we again?

      10               PROSPECTIVE JUROR NO. 33:         Do you want to start

      11    over?

      12               THE COURT:     Yes.

      13               PROSPECTIVE JUROR NO. 33:         No. 2, 71.

     14                THE COURT:     No wonder.      I was looking at Juror No.

     15    31.   You may have thought I was kidding you --

     16                PROSPECTIVE JUROR NO. 33:         I thought you were

     17    kidding.

     18                THE COURT:     You jumped from 55 to 71.          I said,

     19    well, that's quite a jump.

     20                PROSPECTIVE JUROR NO. 33:         No. 9.    I added

     21    "church" and a "B.S. Degree."

     22                Then it was 20, "Admiral Rickover."           Then I wrote

     23    under that, "Got things done."

     24                That's it.

     25                THE COURT:     Thank you very much.


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       1                THE COURT:    Now, you received a jury summons in

       2    the mail, and we estimated nine months.             I want to assure

       3    you we are not going to be in trial for nine months, but the

       4    case could place over a long period of time.             I just don't

       5    know yet how the case unfolds.           The witnesses are coming

       6    from different locations of the country.            I need to be very

       7    careful that counsel hold up, that they marshal their

       8    resources so we are getting things done.            I also need to

       9    watch their ability to present the case on both sides.

      10   Their days will just begin as we get in trial -- as we got

      11   home at 5:00, they are just beginning.

      12               There is going to be I am quite certain

     13    continuances during different portions of the trial, and

     14    they will come to you without explanation.             You just won't

     15    know why.

     16                I want to start with a little overview.           In cases

     17    where the government is seeking the death penalty against

     18    the defendant, the law provides for a two-stage trial in

     19    front of same jury.       Sometimes we refer to this second stage

     20    as a penalty phase trial, and when we ask you questions

     21    about this second trial, this penalty phase trial, I don't

     22    want you to assume that I believe or even know if we will

     23    necessarily get to that.

     24                In the first trial, the jury's job is the same as

     25    it would be in any other criminal case, to decide if the


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       1    accused is guilty or not guilty.          If, and only if, the jury

       2    returns a verdict of guilty against either defendant Mr.

       3    Mills or defendant Mr. Bingham as to the counts alleged

       4    against them which potentially carry a sentence of death,

       5    the same jury will have the task of considering the penalty

       6    in this second or penalty phase trial.            In that case, the

       7    jury will hear additional evidence and arguments and will be

       8    asked to weigh the various aggravating and mitigating

       9    factors that I will explain to you if we get to that penalty

      10    phase trial.

      11               Based upon these considerations, the jury in this

      12    second or penalty phase trial by unanimous vote shall

      13   recommend whether the defendant shall be sentenced to death

      14   or to life imprisonment without the possibility of release.

      15   In any case in which the charge carries a possible penalty

      16   of death, the law requires that jurors answer questions

      17   regarding their thoughts, feelings and opinions about the

      18   possible penalties.       That's why we have intruded into what I

      19   consider a very private area of your life.

     20                My questions are very few, and then I will check

     21    with counsel in just a few moments to see if they believe we

     22    have covered all the areas, but the first question is would

     23    you automatically find for death without fairly weighing the

     24    aggravating and mitigating factors?

     25                PROSPECTIVE JUROR NO. 33:         I would waive


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       1    everything.

       2                 THE COURT:   Is there a substantial likelihood that

       3    you would find for death without fairly weighing the

       4    aggravating and mitigating factors?

       5                 PROSPECTIVE JUROR NO. 33:       No.

       6                 THE COURT:   Now the opposite side of the question,

       7    would you automatically never find for death without fairly

       8    weighing the aggravating and mitigating factors?

       9                 PROSPECTIVE JUROR NO. 33:       I would just listen to

      10    the facts.

      11               THE COURT:     Is there a substantial likelihood that

      12    you would never find for death without fairly weighing the

      13    aggravating and mitigating factors?

      14               PROSPECTIVE JUROR NO. 33:         I would weigh the

      15   facts.

      16               THE COURT:     I am satisfied then.      Let me turn to

      17   counsel then.

      18               Mr. Steward?

     19                MR. STEWARD:     No questions.

     20                THE COURT:     Mr. White?

     21                MR. WHITE:     No questions.

     22                THE COURT:     Mr. Emmick?

     23                MR. EMMICK:     Nothing further.

     24                THE COURT:     Ms. Flynn?

     25                MS. FLYNN:     No questions.


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                                                                           :.


       1                THE COURT:    I am going to have you come back to us

       2    on February 22.     It's a Wednesday, and Lisa is going to give

       3    you a note to remind you.         You are supposed to call the jury

       4    commissioner on February 21.        I don't care what the

       5    mechanical voice says.      On February 22 at 8:30 in the

       6    morning, we are going to start our jury selection.

       7               Now, I don't want you to not know what we are

       8    doing.   As to the jurors who both sides are finding

       9    acceptable at this point, we are bringing all of you back,

      10    and from that pool of jurors, we are going to select 12

      11   jurors and probably 12 alternates, so we will know I think

      12   by the end of the week, probably even by Thursday, who those

     13    jurors and alternates are.

     14                Thank you very much.        We will see you on

     15    February 22 on a Wednesday at 8:30.           Give your questionnaire

     16    back to Lisa on the way out.         Thank you very much.

     17                (Prospective Juror No. 33 exits courtroom.)

     18                THE COURT:     Counsel, with 34, I didn't see

     19    anything.

     20                MR. STEWARD:     75.

     21                THE COURT:     Thank you.

     22                MR. STEWARD:    I'm not worried about the scheduling

     23    conflict as much as the entity.

     24                THE COURT:    134 has also come down today.       We will

     25    get the questionnaire.      I will give you plenty of time to


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       1    look at it.    I don't know why she is here.

       2                Counsel, with 34, I think I will talk to her about

       3    hardship, but the employment is really a general voir dire

       4    question.

       5                Juror No. 34.

       6                (Prospective Juror enters courtroom.)

       7                THE COURT:   How are you today?

       8                PROSPECTIVE JUROR NO. 34:       Fine.    Thank you.

       9                THE COURT:   Would you be kind enough to have a

      10   seat in the chair right across the table from me.

      11                Let me start by thank you for filling out jury

     12    questionnaire.

     13                 Also, I wanted to give you a chance as well as the

     14    other jurors to go back over the questionnaire and if you

     15    wanted to make any modifications or changes to do that in

     16    red ink so I have a record of that.

     17                 Would you go through those questions?

     18                 PROSPECTIVE JUROR NO. 34:       On Question No. 10, I

     19    added that my son is in preschool.          I forgot the second

     20    person that I mentioned in No. 8.

     21                 THE COURT:   Then let's go to -- any other

     22    questions that you changed?

     23                 PROSPECTIVE JUROR NO. 34:       23.

     24                 PROSPECTIVE JUROR NO. 34:       Now I am employed with

     25    the Department of Corrections.


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       1               THE COURT:     I don't want to know where.

       2               What type of job do you have?

       3               PROSPECTIVE JUROR NO. 34:         I'm a supervising

       4    registered nurse.

       5               THE COURT:     I don't know want to know the

       6    institution.

       7               Are you working inside a penal institution?

       8               PROSPECTIVE JUROR NO. 34:         Yes.

       9               THE COURT:     So since the questionnaire, you have

     10    actually obtained employment?

     11                PROSPECTIVE JUROR N0. 34:         Yes.

     12                THE COURT:     Could I excuse you for just a moment?

     13    Let me talk to counsel for just a minute.

     14                THE COURT:     Lisa, if you could take Juror No. 34

     15    out, I may save a number of questions here.

     16                (Prospective Juror No. 34 exits courtroom.)

     17                THE COURT:     First, the murders involving Mr. Mills

     18    are alleged to have occurred in Atlanta's Bureau of Prisons

     19    system, Lewisburg; the conspiracy, Mr. Bingham, Marion,

     20    Leavenworth, Lompoc and ADX, and we don't have CDC.

     21                The problem is I'm not sure where the conspiracy

     22    counts lead concerning evidence because the complaint is so

     23    broadly drafted and the Indictment is.             I'm not sure if it

     24    would lead into the California Department of Corrections

     25    eventually, and I don't know who is going to testify as a


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       1    cooperating witness or who testifies from the defense

       2    perspective who is incarcerated or has been.            Mr. Mills and

       3    Mr. Bingham I assume at some point has also passed through

       4    as well as Mr. Gibson and Mr. Hevle the California

       5   Department of Corrections.

       6               So before I ask any question, I am just wondering

       7   if we aren't taking an incredible chance because I can end

       8   up making the correct legal ruling and find there is no

       9   cause, and then we run into problems, or somebody in her

     10    employment says by the way.

     11                What are your thoughts, Mr. Emmick?

     12                MR. EMMICK:     I think it's more of a question of

     13    whether we handle it now or we handle it in general voir

     14    dire.

     15                THE COURT:     I would rather handle it now is there

     16    is a stipulation.       If we are going to excuse her, let's not

     17    bring her back.     This is one I will expand a little bit.

     18                MR. EMMICK:    There will certainly be witnesses who

     19    have been through the California Department of Corrections.

     20    There is no question about that.          She hasn't got much

     21    experience yet, but we just don't know what's going to

     22    happen over the next --

     23               THE COURT:     She is in an institution.          I don't

     24    want to know which one, who taps her on her on the shoulder

     25    or who doesn't.    You just don't know.


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       1               And you gentlemen might not have anything to do

       2    with that, you know, if somebody out there tries to help.

       3    It all falls back.

       4               MR. EMMICK:     We would offer to stipulate.

       5               THE COURT:     Would you stipulate?

       6               MR. STEWARD:     Us, too, Your Honor.

       7               MR. WHITE:    We also will stipulate.

       8               THE COURT:    I think it's a wise decision on

       9   everybody's part.

      10               Let's ask the juror to come back in.

      11               (Prospective Juror No. 34 excused.)

      12               THE COURT:    We are going to thank and excuse you.

      13   Some of the evidence may apply to the Department of

     14    Corrections, and we just don't want you in that position by

     15    virtue of employment.      Otherwise, I think both sides were

     16    ready to accept you and would like you to potentially sit.

     17    It's just the employment that causes them to have a little

     18    discomfort.

     19                PROSPECTIVE JUROR NO. 34:        I am thankful because I

     20    have to relocate.

     21                THE COURT:    Well, we would have just brought the

     22    trial to wherever you are going.          I'm just kidding.   Thank

     23    you very much.

     24                (Prospective Juror No. 34 excused.)

     25                THE COURT:    We would have a hardship difficulty


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       1    regardless, Counsel.

       2               That took care of 32 and 34.

       3               Who is the next juror back there?

       4               MR. EMMICK:     47.

       5               THE COURT:     Lisa?

       6               THE CLERK:     47.

       7               THE COURT:     This is the juror who had a missing

       8   page that wasn't filled in.        We are going to spend quite

       9   awhile with the missing page.        Question 65 should be

      10   inquired into.

      11               MR. EMMICK:     73 as well.

     12                THE COURT:     73.

     13                Have you had enough time to look at 47?

     14                MR. STEWARD:    Yes.

     15                MR. WHITE:    Yes.

     16                MS. FLYNN:    Yes.

     17                THE COURT:    47, please.

     18                (Prospective Juror No. 47 enters courtroom.)

     19                THE COURT:    How are you today, sir?        Why don't you

     20    come up and join me.      I heard you had come down today, so I

     21    talked to the commissioner to see if he would bring you up

     22    to court this morning.      Have a seat.

     23                First of all, I want to thank you for filling out

     24    the questionnaire.      I gave all of the jurors the option of

     25    going back over the questionnaire and adding any information


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       1    to it or changing any information so I have a record of it.

       2    If you would be kind enough, would you go through that

       3    questionnaire with me if you have may changes?              Let's do

       4    that question by question.

       5                What's your first question?

       6                PROSPECTIVE JUROR NO. 47:       No. 5 down at the

       7    bottom there, I wrote, "In my area, burglary.           Theft is very

       8    seldom, shooting of people, and robbery."

       9                No. 10 is housewife.

      10                No. 14, I added "Retired in 1965."

      11                14(c), I don't have none.

      12                No. 20, I added "Ronald Reagan."

     13                 No. 22, I was on a trial.       Is that Garden Grove

      14   over here?

     15                THE COURT:    You were probably over at Westminster

     16    Court.

     17                PROSPECTIVE JUROR NO. 47:        It's never finished.

     18    We went in and --

     19                THE COURT:    Counsel, he would have served in West

     20    Orange County Court, Westminster Branch.

     21                PROSPECTIVE JUROR NO. 47:        23, I added, "My

     22    brother is a prison guard."

     23                No. 38, I didn't mark that whole page.            "No" on

     24    38.   "No" on 39.    "No" on 40.     "No" on 41.      "No" on 42.

     25    43, 44, and 45 are all "No."


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       1                No. 47, I just added Reader's Digest."

       2                No. 50, "Seldom do I listen to radio, mostly

       3

       4                No. 52 -- it's funny this morning I drew a blank

       5    on a lot of things -- "Larry king, Channel 30."

       6                No. 53, "Military battle."

       7                No. 54, I read the "Orange County Register."

       8                I believe that's it.

       9                THE COURT:   Thank you very much.

      10                Now, when you received the jury summons, we

      11   indicated that the trial could take nine months, but we

      12   overestimated that I think.        I wanted to be very careful

      13   about the time estimate so no juror felt that they were

      14   being misled.     In fact, the trial could take a nine-month

     15    span of time, but you won't be in trial every day for nine

     16    months.     There will be numerous continuances.         I will

     17    probably call what I call rest continuances for no other

     18    reason than just to let counsel catch up, just to marshal

     19    their resources on both sides, so that when we are here, the

     20    witnesses are ready to go in a block of time.            So when you

     21    are here, you are really working.          When you're not, it's not

     22    a half day or an hour even.        You won't get an explanation

     23    for that.    I will just say you are on a recess for a week or

     24    two, and I don't know when or how those will occur yet.

     25                I want to talk to you a little bit about the


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       1    process, and I want to start by explaining to you as the

       2    questionnaire did that in cases where the government is

       3    seeking the death penalty against the defendant, the law

       4    provides for a two-stage trial or two trials in a sense by

       5    the same jury.

       6               I'm going to ask you a couple of questions about

       7    what I am going to call the second trial that we often refer

       8    to as a penalty phase trial in a few moments, but by asking

       9    these questions, I don't want you to assume that I believe

      10    that we will or will not get to that trial.         I don't know,

      11   but in case we do, it's important that I ask you these

      12   questions now.

      13               In the first trial, the jury's job is the same as

      14   it would be in any other criminal case, to decide if the

      15   accused is guilty or not guilty.          If, and only if, the jury

     16    returns a verdict of guilty against either Mr. Mills and/or

     17    Mr. Bingham as to the counts alleged against them which

     18    potentially carry a sentence of death, the same jury will

     19    have the task of considering the penalty in this penalty

     20    phase trial.     In that case, the jury may hear additional

     21    evidence and arguments and will be asked to weigh various

     22    aggravating and mitigating factors that I will explain to

     23    you.

     24                Based upon these considerations, the jury by

     25    unanimous vote shall recommend whether the defendant shall


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       1    be sentenced to death or to life imprisonment without the

       2    possibility of release.      In any case in which the charge

       3    carries a possible penalty of death, the law requires that

       4    jurors answer questions regarding their thoughts, feelings

       5    and opinions about the possible penalties.           That's why we

       6    made what I considered a pretty invasive inquiry into a

       7    private matter.    The law requires that when we are looking

       8    for jurors.

       9               Now, I have just four beginning questions and then

      10    maybe a couple of follow-up questions.

      11               Would you automatically find for death without

      12   fairly weighing these aggravating and mitigating factors in

      13   a penalty phase trial?

      14               PROSPECTIVE JUROR NO. 47:        I would weigh the

      15   factors.

      16               THE COURT:    Is there a substantial likelihood that

     17    you would find for death without fairly weighing these

     18    aggravating and mitigating factors?

     19                PROSPECTIVE JUROR NO. 47:        No, I wouldn't.

     20                THE COURT:    Now let me change the question to the

     21    opposite side of the coin.

     22                Would you automatically never find for death

     23    without fairly weighing these aggravating and mitigating

     24    factors if we get to a penalty phase trial?

     25                PROSPECTIVE JUROR NO. 47:        No.


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       1                THE COURT:    Is there a substantial likelihood that

       2    you would never find for death without fairly weighing the

       3    aggravating and mitigating factors if we get to a penalty

       4    phase trial?

       5               PROSPECTIVE JUROR NO. 47:         Say that again.

       6               THE COURT:     Is there a substantial likelihood that

       7    you would never find for death without fairly weighing the

       8    aggravating and mitigating factors?

       9               PROSPECTIVE JUROR NO. 47:         No, I wouldn't.

      10               THE COURT:     Let me turn to your questionnaire.

      11    Would you look at Question No. 65 because it may be in

      12   conflict with what you have said here, and it may not be.

      13   I'm not sure yet.

      14               "65.   Are your views concerning the death penalty

      15   such that, if you were to reach a penalty face in this case,

     16    you would have substantial difficulty in voting for life

     17    imprisonment as the appropriate penalty?"

     18                You checked "Yes."

     19                Could you explain that?

     20                PROSPECTIVE JUROR NO. 47:         No, I wouldn't.

     21                THE COURT:     So your answer would be changed then?

     22                PROSPECTIVE JUROR NO. 47:         Yes.

     23                THE COURT:     Now, let me turn to Question 73.

     24                "73:   Do you believe anyone who has committed

     25    multiple murders should automatically, without consideration


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       1    of any other circumstances" -- and that means these

       2    aggravating and mitigating factors -- "be sentenced to

       3    death?"

       4                There you checked "Yes."

       5                PROSPECTIVE JUROR NO. 47:       72?

       6                THE COURT:     73.

       7                PROSPECTIVE JUROR NO. 47:       Okay.

       8                THE COURT:     "73:   Do you believe anyone who has

       9    committed multiple murders should automatically, without

      10    consideration of any other circumstances, be sentenced to

      11    death?"

      12                PROSPECTIVE JUROR NO. 47:       No.

      13                THE COURT:     So you have changed that answer also.

      14    Is that correct?

      15                PROSPECTIVE JUROR NO. 47:       Correct.

      16                THE COURT:     Counsel, was there another question

      17   you were concerned about?

     18                 MR. EMMICK:    None from the government.

     19                 MR. STEWARD:    I think 59 on the hearing.

     20                 THE COURT:    You said, "I wear hearing aids.      Today

     21    I have no problems hearing."

     22                PROSPECTIVE JUROR NO. 47:        I don't have any in me

     23    right now.

     24                THE COURT:     So you are having no problems hearing

     25    now?


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       1               PROSPECTIVE JUROR NO. 47:        No.

       2               THE COURT:     Certainly you have hearing aids if you

       3    are chosen to sit?

       4               PROSPECTIVE JUROR NO. 47:        I will have them, yes.

       5               THE COURT:     Mr. Steward?

       6               MR. STEWARD:     Nothing further.

       7               THE COURT:    Mr. White.

       8               MR. WHITE:    Yes, I have some questions with the

       9   Court's permission.

      10               THE COURT:    Mr. White, just a moment.

     11                I want you to go with Lisa for just a moment.

     12    I'll come back to you in just a second.

     13                (Prospective Juror No. 47 exits courtroom.)

     14                THE COURT:    I want to make certain what those

     15    follow-up questions are.       Why don't you write them down.

     16    That way you have a record.

     17                (Pause in proceedings.)

     18                MR. WHITE:    They appear rather lengthy in the

     19    writing.

     20                THE COURT:    Assume that the defendants have been

     21    convicted of two or more intentional premeditated murders,

     22    under those circumstances, do you believe the only

     23    appropriate punishment is death?

     24                MR. EMMICK:    We object to that question.

     25               THE COURT:     I am going to sustain the objection.


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       1    I will let you get into the area, but I only want the

       2    aggravating and mitigating factors included in the question.

       3    I'm not saying it's inappropriate.         I just don't think it's

       4    a fair question.

       5               If convicted of two or more murders, would factors

       6    in aggravation or mitigation not affect your belief that

       7    that's inappropriate?

       8               The last question I don't understand.          Just

       9   redraft it.

      10               (Pause in proceedings.)

      11               MR. WHITE:    We made another attempt.

     12                THE COURT:    Read it.

     13                MR. WHITE:    If convicted of two or more murders,

     14    could factors in aggravation or mitigation affect your

     15    decision as to whether or not death is appropriate?

     16                THE COURT:    That would be an appropriate question.

     17                MR. EMMICK:    I think it's an appropriate question.

     18    I --

     19                THE COURT:    I am going to sustain the objection.

     20                MR. WHITE:    What I would propose to do --

     21                THE COURT:    I will allow to you ask that question.

     22                MR. WHITE:    What I would ask is to allow me to set

     23    the stage, which is to assume that these gentlemen have been

     24    convicted of two or more murders.          I am asking him to assume

     25    that and then ask this question.


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    1               THE COURT:    You can.    You can say assuming that

    2   Mr. Bingham or Mr. Mills was convicted of two or more

    3   murders and then the question.        That's appropriate.

    4               Ask the gentleman to come back in.

    5               (Prospective Juror No. 47 enters courtroom.)

    6               THE COURT:    Thank you very much.        I am going to

    7   have one of the attorneys ask you one question for just a

    8   moment.    You will need to speak up just because that

    9   microphone doesn't seem to work as well as I want it to.

  10                MR. WHITE:    Good morning, sir.

  11                PROSPECTIVE JUROR NO. 47:        Good morning.

  12                MR. WHITE:    Sir, the question I have for you is

  13    assuming that Mr. Bingham and/or Mr. Mills have been

  14    convicted of two or more murders could factors in

  15    aggravation or mitigation affect your decision as to whether

  16    or not the death penalty is appropriate?

  17                THE COURT:    In other words, would you fairly weigh

  18    those aggravating or mitigating factors?

  19                MR. WHITE:    Yes.

  20                PROSPECTIVE JUROR NO. 47:        Would you repeat that?

  21                THE COURT:    Hypothetically -- assuming as Question

  22    No. 72 -- 73 states -- assuming for a moment that you

  23    believe -- that you find that either Mr. Mills or

  24    Mr. Bingham were convicted of two or more murders.           Could

  25    factors in aggravation or mitigation -- meaning would you be


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    1   be willing to weigh the factors in aggravation and

    2   mitigation -- would these factors affect your decision as to

    3   whether or not death is appropriate?

    4               PROSPECTIVE JUROR NO. 47:       Unless there is some

    5   other circumstances or something of that nature, I --

    6               THE COURT:    Well, you are going to have these

    7   aggravating and mitigating factors.

    8               PROSPECTIVE JUROR NO. 47:       It depends upon the

    9   mitigating factors of whether I would or not.

  10                THE COURT:    Okay.

  11                MR. WHITE:    Can I ask one follow-up?

  12                THE COURT:    Mr. White, you can ask one follow-up,

  13    but if there is an objection -- I'll give you that

  14    discretion.

  15                MR. WHITE:    Sir, what kind of factors or

  16    circumstances do you have in mind that could cause you to

  17    vote for life?

  18                MR. EMMICK:    We object to that question.

  19                THE COURT:    Unnecessary.

  20                MR. WHITE:    May I try one more time?

  21                THE COURT:    All right.

  22                MR. WHITE:    Are the type of factors you are

  23    thinking about like self-defense?

  24                MR. EMMICK:   Your Honor, I object to that

  25    question.


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    1                THE COURT:    I don't want to get back and forth in

    2    between what the mitigating and aggravating factors could

    3   be.

    4                I am going to find there is sufficient cause for

    5   the juror to sit.

    6                I am going to ask the following, that you return

    7   of Wednesday, February 22, at 8:30, but you don't have to

    8   write that down because we are going to take the

    9   questionnaire back from you in just a moment.           Lisa is going

  10    to give you a reminder slip.        I know that you are supposed

  11    to call the jury commissioner on the 21st.           I still want you

  12    to do that.     I don't care what the mechanical voice says.

  13    We are starting on February 22 at 8:30 no matter what

  14    anybody tells you.

  15                 PROSPECTIVE JUROR NO. 47:       Sure.

  16                 THE COURT:   I just don't trust the mechanical

  17    apparatus.

  18               PROSPECTIVE JUROR NO. 47:         I don't have good luck

  19    with it either.

  20               THE COURT:     Now, on that date, there will be a

  21    whole pool of jurors which both sides find acceptable.          Each

  22    side may want a little bit of follow up, but we will get

  23    that jury on Wednesday and Thursday I believe, and I think

  24    we will know by Friday who our 12 jurors are and potentially

  25    our 12 alternate jurors are, so you will know if you are


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    1    sitting or not.

    2               Thank you very much.      I appreciate it.     It's a

    3    pleasure meeting you.      Be care with these wires.

    4               (Prospective Juror No. 47 exits courtroom.)

    5               THE COURT:     Let's spend some more time on the

    6    record with this.      Let me give you my explanation.      You can

    7   argue with me.     If I'm wrong, I can always excuse him.        Of

    8   course he appears to be inclined to what I call the pro

    9   death category.     In and of itself, that's not sufficient to

   10   excuse him.    We both know yet.

  11                I am going to get jurors on your side that are

  12    towards the pro life category.        That's not a sufficient

  13    reason to excuse them.

  14                At this stage, the only inquiry is the weighing of

  15    these factors fairly.      You may have some suspicions that he

  16    just isn't the kind of juror you want and that, you know,

  17    the multiple murders would lead to either the automatic or a

  18    substantial likelihood.      I understand your misgivings about

  19    that.

  20                By the same token, I am allowing that question

  21    because, yes, we could get into a multiple murder situation,

  22    and I am also concerned about anybody automatically or

  23    having a substantial likelihood, but once he states to me

  24    without prompting and as fairly as I can go through these

  25    questions for both sides and he does that on his own -- you


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      1    can disagree with the way the question is asked or whatever,

      2    but that's a juror who is voluntarily changing that, and

      3    they are not subject to either the whims of my questions or

    4      yours or the government's.

    5                What I'm not going to do is this.        If I allow you
    6      to focus too much -- this is indicator.        Why aren't I

    7     turning to the government and saying, well, gee, if it's two

    8     murders, well, what about if the person had a bad childhood,

    9     or, well, Mr. Mills had hasn't had any violent conduct in

  10      "X" period of time?

  11                 I'm glad to open the box if you really want that.

  12      I will let the government come back.        I promise you by the

  13      time we are done we are probably going to get to the same

  14      result I just reached.     You have go 30 preemptories.        If you
  15      want five more, I will give you five more.        If you want ten,
  16      I'll give you ten.     You aren't going to have any problems

  17      getting rid of this juror if you want to.

  18                 Make your record.     The only way it has any value

  19      is if we use all preemptories, and then I am in the box

  20      where some defense counsel or government counsel decides to

  21      put me to task, and they say, oh, Judge, this one juror is

  22      unfair.   I will give you more.

 23                 MR. WHITE:    This is more by way of trying to

 24       explain what I was attempting to do.        The reason I asked him

 25       the question about what kind of factors he might be thinking


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    1    about was not to try to influence him, but, rather, I had a

    2    suspicion -- maybe I was wrong --

    3               THE COURT:    No, I don't know if you are.

    4               MR. WHITE:    I know the Court has seen you have to

    5   deal with what kind of a factor would you take into

    6   consideration as a factor in mitigation.            Well, if the

    7   defendant was acting in self-defense.

    8               THE COURT:    I have let you do that in the past on

    9   numerous occasions.      You are probably wondering why not on

  10    this occasion.     It was because he changed his opinion

  11    without any prompting.      If he hadn't changed that opinion

  12    without prompting, I would have let you go into that, and I

  13    have let you go into that in the past, and I may in the

  14    future.

  15                As to this particular juror, it seemed to me once

  16    he changed that volitionally without the whipsaw back and

  17    forth, then I have great credence in his answer.             Now,

  18    whether I would accept him from the defense or the

  19    government's perspective, I don't know.            My guess is you are

  20    going to kick him, but I think each of us could get the jury

  21    on either side to say what we wanted the juror to say

  22    because the questions can become so convoluted.

  23                I'm saying on this occasion that's why I am not

  24    providing you the additional opportunity.            I find him to be
  25    credible.   I find he's willing to weigh the aggravating and


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    1    mitigating factors.      I also find he changed that answer

    2    volitionally.    "Oh, no, I meant the opposite."           That still

    3    may not give you a comfortable level, but you are not going

    4    to be stuck with this juror.

    5               In the future, come back to me again.           Don't be

    6   discouraged.     I'll probably let you ask questions and let

    7   the government ask questions.         I have been liberal about

    8   that, but I don't want to see him whipsawed back and forth.

    9   I think by the time you are done that two things can happen.

  10    If you decide to use him -- you don't know.           Strange things

  11    happen -- I don't want him destroyed by either side.

  12                I am going to take your very well-written and very

  13    virtuous and well-intentioned questions -- it's so

  14    nonreadable I am going to attach them -- the scribbling --

  15    I'm just kidding a little bit -- to the back of the right

  16    questionnaire, which is going to be No. 47 and staple it.

  17    That way for appellate purposes they have it.

  18                I have looked through 134.         I don't find anything

  19    remarkable right now.

  20                MR. EMMICK:    We have some points.

  21                THE COURT:    64 was one.

  22               MR. EMMICK:     61.     The juror says, "I don't believe

  23    I have the right to judge someone for anything that they may

  24    have done."

  25               THE COURT:     So you don't know if they can reach a


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      1   decision?

      2               MR. EMMICK:    66 says that those views are for

      3   religious reasons.       Those two together make us concerned

    4     that this may be someone who believes that only God can make

    5     a decision about death.

    6                 THE COURT:    I will inquire a little bit.

    7                 MR. EMMICK:    Also, 62 was answered "Yes."       63 was

    8     answered "Yes."    64 was answered "Yes."          Those I suppose

    9     would be disqualifying answers.          I think those are the ones.

  10                  THE COURT:    We will take a close look.

  11                  Would you get Juror No. 134.

  12                  (Prospective Juror No. 134 enters courtroom.)

  13                  THE COURT:    How are you today?       Would you come in

  14      and join me and have a seat right across the table from me,

  15      please.   You are Juror No. 134.

  16                  First of all, let me thank you for having filled

  17      out the questionnaire.

  18                  Are there any changes that you have made to any of

  19      the answers or modified any answers?         If so, would you point

  20      me to the question or tell me which question number it is?

  21                  PROSPECTIVE JUROR NO. 134:       61.

  22                THE COURT:      Thank you.     Let me go to 61 for just a

 23       moment.

 24                 What have you stated in 61"

 25                 PROSPECTIVE JUROR NO. 134:         If I have to sit in as


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    1    a juror, I would not feel guilty about the death penalty

    2    based on the evidence.

    3               THE COURT:    That means you would not feel guilty

    4   about imposing it?

    5               PROSPECTIVE JUROR NO. 134:           Correct.

    6               MR. EMMICK:    Maybe I just misheard.            I wasn't sure

    7   if she said I would not vote guilty, or I wouldn't feel

    8   guilty if I voted for it.

    9               THE COURT:    Why don't you read it.

  10                PROSPECTIVE JUROR NO. 134:       "If I have to sit in

  11    as a juror, I would not feel guilty about facing my decision

  12    on the death penalty based on the evidence."

  13                THE COURT:    Are there any other additions or

  14    changes?

  15                PROSPECTIVE JUROR NO. 134:       Question No. 75.

  16               THE COURT:     "75.    Is there anything that you would

  17    like to bring to the Court's attention that might in any way

  18    affect your ability to be a fair and impartial juror in the

  19    case?"

  20               PROSPECTIVE JUROR NO. 134:        The only thing would

  21    be at the end -- I have never sat as a juror.               If 11 were

  22    partial to guilty and I had that where I wanted to decide

  23    not guilty, I think I would feel pressured into going with

  24    the rest of the jurors in what their position was.

  25               THE COURT:     So you might feel pressure from the


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      1    other jurors?

      2              PROSPECTIVE JUROR NO. 134:           Yes.   That's the only

      3    thing that would bother me.

      4              That's it.

    5                THE COURT:    Thank you very much.

    6                Now, when you got the jury summons, we estimated

    7     nine months, but I can assure you we won't be in trial every

    8     day for nine months.    There may in fact be continuances that

    9     would be unexplained to you.      They may be for a week or a

  10      month.   I just don't know yet.     That will be my

  11      responsibility.

  12                 In cases where the government is seeking the death

  13      penalty against a defendant, the law provides for a

  14      two-stage trial in front of the same jury.             I am going to
  15      ask you some questions about the second stage of such a

  16      trial.   We oftentimes refer to as the penalty phase.           By
  17      asking these questions, I don't want you to assume or even

  18      know if we will get to the second phase of a trial.            In case
  19      we did, it's important that I ask you the questions now.

  20                In the first trial, the jury's job is the same as

  21      it would be in any other criminal case, to decide if the

 22       accused is guilty or not guilty of the crime charged.            If,
 23       and only if, the jury returns a verdict of guilty against

 24       defendant Mr. Mills or defendant Mr. Bingham as to the

 25       counts alleged against them which potentially carry a


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       1    sentence of death, the same jury will have the task of

       2    considering the penalty at this penalty phase trial, this

    3      second trial.   In that case, the jury may hear additional

    4      and evidence and arguments and will be asked to weigh

    5      various aggravating and mitigating factors that I will

    6      explain to you at that time if, and only if, we get to that

    7      second penalty phase trial.

    8                Based upon these considerations, the jury by

    9      unanimous vote shall recommend whether the defendant should

  10       be sentenced to death or to life imprisonment without the

  11       possibility of release.

  12                 Now, I have four questions I want to ask you, and

  13       then I want to turn back to the questionnaire for just a

  14       moment.

  15                 Would you automatically find for death without

  16       fairly weighing the aggravating and mitigating factors in a

  17       penalty trial if we got there?

  18                 PROSPECTIVE JUROR NO. 134:       No.

  19                 THE COURT:   Is there a substantial likelihood that

  20       you would find for death without fairly weighing the

  21       aggravating and mitigating factors if we got to this second

  22       penalty phase trial?

  23                 PROSPECTIVE JUROR NO. 134:       I'm sorry.

  24                 THE COURT:   Is there a substantial likelihood that

 25        you would find for death without fairly weighing the


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    1    aggravating and mitigating factors?

    2                PROSPECTIVE JUROR NO. 134:            No.

    3                THE COURT:   Let me turn to the opposite

    4   perspective.

    5                Would you automatically never find for death

    6   without fairly weighing the aggravating and mitigating

    7   factors in a second trial?

    8               PROSPECTIVE JUROR NO. 134:         If I had sit in as a

    9   juror, no.

  10                THE COURT:    Is there a substantial likelihood that

  11    you would never find for death without fairly weighing the

  12    aggravating and mitigating factors in a second trial?

  13                PROSPECTIVE JUROR NO. 134:         No.

  14                THE COURT:    Now, I want you to turn back to your

  15    questionnaire for just a moment.           In Question No. 61, you

  16    said, "I believe that everyone has what is coming to them

  17    when they pass away" -- in other words, when they die --

  18    "and our God decides what their punishment should be."

  19               Do you have a strong religious conviction or moral

  20    conviction?

  21               PROSPECTIVE JUROR NO. 134:          It's not a strong --

  22    it's more moral than --

  23               THE COURT:     More moral?

  24               PROSPECTIVE JUROR NO. 134:          Yes.

  25               THE COURT:     "66.     Are your views expressed above,


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       1    as set forth in Questions 62 through 65, based on religios

       2    considerations?"

       3                 You marked "Yes."     That's what I wanted to talk to

       4    you about.

      5               Could you explain that to me just a little bit

      6

      7               PROSPECTIVE JUROR NO. 134:             Everybody is -- you

      8     know, it's based on the Bible, should not take a life.            I
    9       think if I were to sit here send someone -- that one

  10       question comes to that where if I believe -- No. 75, where

  11       if I was pressured into making a decision and the decision

  12       is the death penalty, and I believe that they shouldn't be

  13       sentenced to the death penalty, I think -- I would have a

  14       problem with that.      It's more moral than religion.

  15                 THE COURT:      You have used the example if 11 jurors

  16       were voting for death, and you were voting not for death,

  17       and you feel that you might be swayed by the majority and

  18       have a difficult time with that pressure.

  19                 PROSPECTIVE JUROR NO. 134:          Yes.

  20                 THE COURT:      It would be the opposite way if the 11

  21       jurors were voting for life without possibility of release

 22        and you were voting for death.

 23                  Would you have a viewpoint -- you know, feeling

 24        pressure in moving to their side, or would you feel stronger

 25        about maintaining your position for death?


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       1               PROSPECTIVE JUROR NO. 134:          I think I would feel

       2    the pressure.

       3               THE COURT:    Coequally on either side?

    4                 PROSPECTIVE JUROR NO. 134:           Yes.

    5                 THE COURT:    That's interesting.

    6                 Could you turn to 62, 63, and 64?           These are

    7      difficult questions.     Some of them are hard.        I want to go

    8      to 64 for just a moment.

    9                 "64.   Are your views concerning the death penalty

  10       such that, if you were to reach a penalty phase in this

  11       case, you would have substantial difficulty in voting for

  12       death as the appropriate penalty?"

  13                  You have marked "Yes."

  14                  Is that your answer, and if so, could you talk to

  15       me about that?    You have indicated so far in the four

  16       questions I have asked you that it depends on mitigating and

  17       aggravating factors.

  18                  PROSPECTIVE JUROR NO. 134:       Yes, and that went

  19       along with the original -- what I put for 61.           If I had to

  20       sit in as a juror, of course, based on the evidence, I

  21       wouldn't have difficulty, but --

  22                  THE COURT:    Let me excuse you for just a moment.

  23       Let me talk to counsel.     I may have a few questions for you

  24       in just a moment.     If you will go with Lisa for just a

  25       second.   Just leave your questionnaire there, and we will


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       1    come right back to you.

       2              (Prospective Juror No. 134 exits courtroom.)

      3               THE COURT:     Now, I am no longer a litigator, but I

      4     couldn't figure out if I sat on either one of the sides
                                                                    of
      5     this courtroom right now whether she is pro life or pro

      6     death to begin with.    Of course, that's not the standard,

      7     but I think you are probably each going to have a difficu
                                                                      lty
      8     time figuring out where she stands because her answers are

      9     much different, and one of the telling answers to me is No.

  10       75.

  11                 I am concerned about her holding up under pressure

  12       of course and bending to the majority will.          If you want to

  13       spend a lot of time with her, I would be glad to, but I am

  14       not going to excuse her for cause yet.         I just don't quite

  15       know where to go with the questions because she is answering

  16       the questions appropriately, although the answers on the

  17       sheet are not as appropriate.

  18                 If you have a follow-up question, I would like you

 19        to write it down for me again, and I'll attach it to the

 20        back of the questionnaire.

 21                  MR. WHITE:     We have none, Your Honor.

 22                  MR. STEWARD:    We have none, Your Honor.

 23                  THE COURT:    Mr. Emmick?

 24                  MR. EMMICK:    Mine would only have one word.       I

 25        could write that word down.


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       1               THE COURT:     Tell me the word is.

       2               MR. EMMICK:     I was going to suggest the word "why"

       3    for 64?   The reason is I don't know that we actually
                                                                  got an
      4     explanation for No. 64.

      5                THE COURT:     You didn't.

      6                MR. EMMICK:     Here is our concern.      I think
      7     everybody is rightly concerned about whether she
                                                             will bow to
      8     pressure, and that's a legitimate concern.

      9               THE COURT:      That's a question for general voir

  10

  11                  MR. EMMICK:      I agree with that, but I am unable to

  12       square her "Yes" answer with 64 with the answers
                                                            to 66 and
  13       61 that she modified a bit here.          Perhaps if we just started

  14       with why she answered that, we would have a little
                                                              more
  15       information.    I don't know how to evaluate it at all.

  16                  THE COURT:     I will be courteous to you as I was

  17       with Mr. White.    I will ask the question why, but that's

  18       probably where it will end.        I'm really prepared to finding

 19        depending upon her answer that she is going to be coming

 20        back.

 21                   Would you ask her to rejoin us, please.

 22                   (Prospective Juror No. 134 enters courtroom.)

 23                   THE COURT:     I just have one question that probably

 24        has one word to it.      If you would turn to Question 64 again,

 25        you have answered that question differently today in
                                                                court.


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       1    You basically said that you were willing
                                                     to -- well, let me
       2

       3                "64.   Are your views concerning the death penalty

      4     such that, if you were to reach a penalty phase
                                                            in this
      5     case, you would have substantial difficulty in voting
                                                                  for
      6     death as the appropriate penalty?"

      7                 You said "Yes."

      8                 why?

      9                 PROSPECTIVE JUROR NO. 134:           Well, I answered that,

  10       "Yes" -- it would be hard for me because of what
                                                            it says in
  11       61.     I don't believe it's up to us if someone should die
                                                                       or
  12       not, but if I had to sit in as a juror, based on all
                                                                the
  13       evidence -- of course, it would be based on all the

  14       evidence.

  15                   THE COURT:    You would render your verdict as such?

  16                   PROSPECTIVE JUROR NO. 134:        Yes.

  17                   THE COURT:    I am going to ask you to come back and

  18       join us on Wednesday, February 22, at 8:30 in the morning.

 19                    Lisa is going to give you a slip, and you give her

 20        your questionnaire.      I know you are supposed to call the

 21        jury commissioner and the jury commissioner is going to call

 22        you on February 21.      I don't care what the mechanical voice

 23        says.    We are starting at February 22 at 8:30 in the

 24        morning.    We will probably place a follow-up phone call, but

 25        no matter what, we are starting February 22.            I just don't


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       1    trust the mechanical apparatus.

       2                 What is going to happen is the sides are initially

      3     coming together and trying to find a group of jurors that

      4     think will be fair and impartial.          You are going to join
      5     that body.    From that group, they will select a jury of 12

      6     people and 8 to 12 alternates, so we will know on the 22nd

      7    or 23rd -- I think it's only going to take about two days.

      8    It could take Friday, but we will know in two or three days

   9       who that jury is.        Then if you are selected, you will know.

  10       If you are not selected, you will know also.             Thank you very
  11       much.

  12                    (Prospective Juror No. 134 exits courtroom.)

  13                    THE COURT:    Now, this is more in line this morning

  14       with my experience.       By the way, just because we have a

  15       certain count of jurors, don't count on these jurors

  16       returning.    Let's say we basically end up with 140.          I
  17       promise you 15 or 20 are going to develop employment

  18       problems.

 19                    So today we looked at 14 jurors.          Tomorrow morning
 20                       Tomorrow afternoon we have 15.          Of those, we

 21        have Juror No. 23, Juror 25, Juror 26, Juror 28, Juror 30,

 22        Juror 31, Juror 33, Juror 34, and 134.

 23                    MR. WHITE:     I think 23 was excused.

 24                    MS. FLYNN:     That's what I have as well.

 25                    THE COURT:    23 was excused.


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       1                 MR. WHITE:    And 34.

       2                 MS. FLYNN:    Yes.

      3                  THE COURT:    23 was excused.     24 was excused.    We
      4     have 25.     26 was returning.       27 was excused.   28 is
      5     returning.    29 is excused.        30 is returning.   31 is
      6     returning.    32 is excused.        33 is returning.   34 is
      7    returning -- 34 is not.

      8                 THE COURT:     Was that the prison guard?

    9                   MR. STEWARD:     Yes.

  10                    THE COURT:    134 is returning.

  11                   MR. WHITE:     And 47.     It should be eight.

  12                   THE COURT:     And 47.     Thank you very much.

  13                   How many jurors is that?

  14                   MR. WHITE:     Eight returning.

  15                   THE COURT:     Out of 14.

  16                   MR. WHITE:     Fifteen.

  17                   THE COURT:     Eight out of 15.     It's hard to judge,

  18       but how many did we have yesterday?          I think we had 14

  19       jurors yesterday.       We have eight today in this morning

 20        session for a total of 22 jurors who potentially can sit
                                                                    out
 21        of how many total jurors have we examined?

 22                    MR. WHITE:     We did 15 today.

 23                    MS. FLYNN:     We did 20 yesterday.

 24                    MR. EMMICK:     We got to 21, and one was missing.

 25                    THE COURT:     Out of 35 jurors, we are getting 22


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       1    approximately.

       2                 MR. WHITE:   70 percent.
       3                 THE COURT:   A safe number is going to be -- it's
      4     varies all over the place.         My experience has been about
      5     55 percent to 75 percent.         They running in that range
      6     usually.     I have had some exceptions to that.          Let's just
      7     figure two-thirds.      Of 214 jurors, I guarantee five or ten

      8     of those are going to call and say they just can't make it

      9     in this period of time.      We are down to 205 that probably
  10        will show up at the most, and we will drop at least

  11       one-third.     We will in my opinion to probably about 130 to

  12       140 if we are lucking.

  13                   Of the 130 to 140, you will still lose more

  14       jurors -- even though we think we have a jury pool,

  15       something happens when they go back to their employer and

  16       the reality hits that they are really joining the pool.               A
  17       couple of them going back right now and finally checking,

  18       and their boss is telling them you're not sitting, so I

 19        always figure we are going to drop some more.          What we have
 20        to do is figure out along the way are we cutting it to

 21        close?   Do I need to send out more jury summons?

 22                    Let's go through it again.        We have got 12 in the
 23        boxes and potentially 12 alternates.          There could be eight
 24        alternates.    Right now I'm planning on 12.        24, 30
 25        preemptories per side.      Add 60 more.      That's 84.    Now, we


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       1    also gave preemptories, though, to each side for the

       2    alternates.

       3                 MR. WHITE:   I think we said 12 apiece.

      4                 THE COURT:    So add 24 more.

      5                 MR. WHITE:    That's 108.

      6                 THE COURT:    Does that appear to be kind of a magic

      7     number that we have to have to realistically give you
                                                                  all of
      8     the preemptories if you decided to use every preemptory?

   9                    MR. WHITE:    Yes.

  10                    MR. EMMICK:    That's assuming none for cause during

  11       the voir dire portion.

  12                    THE COURT:    That's assuming none for cause, and

  13       that's assuming that everybody shows up.            I mean, we really

  14       need a pool of at least 130 to give you a comfortable
                                                                 level.
  15                    Do I need to send out more subpoenas?            If I do, I
  16       want to do it now.      I don't think, frankly, you are going to

  17       use all 30, but I can't take that chance.

  18                    Do you want to wait until the end of the day to

  19       see how we do this afternoon?        Think about it.         Let's see
 20        how we do in the afternoon session.          Some days we will have
 21        a great run like yesterday.        Other days none of them will

 22        show up.   By that I mean, they would be disqualified

 23        obviously.

 24                   Okay, let's reconvene at 1:15.

 25                   (Proceedings concluded.)


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       2

      3                              CERTIFICATE

      4

      5              I hereby certify that pursuant to Section
                                                               753,
      6    Title 28, United States Code, the foregoing is
                                                          a true and
      7    correct transcript of the stenographically reported

      8    proceedings held in the above-entitled matter and
                                                             that the
      9    transcript page format is in conformance with the

  10       regulations of the Judicial Conference of the Unite
                                                               d States.
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